Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 1 of 50




                      EXHIBIT C
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 2 of 50
 Biographies


                                                              Walter J. Andrews
                                                              Partner

                                                              wandrews@HuntonAK.com
                                                              Miami                            Washington, DC
                                                              +1 305 810 6407                  +1 202 955 1802




 SERVICES
                              Walter’s practice focuses on complex insurance recovery,
                              counseling, arbitrations, litigation, and expert witness
 Industries
                              testimony.
 Energy
 Real Estate Investment and   Walter offers clients more than 30 years of experience managing insurance-related
 Finance                      issues, including program audits, policy manuscripting, counseling, litigation and
 Practices                    arbitration. He works with companies in a diverse range of industries, including
                              financial services, technologies, consumer products, food and beverages,
 Insurance Coverage           chemicals, real estate and municipalities.
 Cyber Insurance              Walter is the former Chair of the ABA Insurance Coverage Litigation Committee and
 Cyber Investigations and     a Fellow of the American College of Coverage Counsel. He is admitted to practice
 Privacy Litigation           before courts and arbitral bodies across the United States. He litigates and
 Reinsurance
                              arbitrates insurance coverage and bad faith disputes around the nation, involving
                              business interruption, product liability, construction defect, reinsurance recovery
 Cross-Border Insurance       matters for cedents, cyberinsurance and e-commerce issues, and other emerging
 Coverage                     claims. These matters involve a variety of insurance contracts, including
 Transactional Insurance      professional liability, first party property, general liability insurance policies,
 National Security            cyberinsurance, and various reinsurance agreements.
                              Walter also has served as an expert witness in insurance matters and as an
 Energy Sector Security
 Team                         arbitrator in insurance coverage arbitrations.

 Litigation                   Relevant Experience
                              •   Advised on and litigated COVID-19 insurance recovery claims related to business
 EDUCATION                        interruption and other related policies.
                              •   Recovered over $100 million in cyber insurance coverage for claims arising from
 JD, University of Chicago
                                  ransomware attacks and other cyber incidents.
 Law School, 1982
                              •   Successfully litigated Hurricane Harvey business interruption recovery matters
 BA, Swarthmore College,
 1979
                                  for financial institution and law firm in Texas.
                              •   Advised luxury resort concerning property damage, business interruption and
                                  extra expense loss resulting from catastrophic flood event.
                              •   Litigated significant fire loss claim for industrial manufacturing facility.




                                                                                                Hunton Andrews Kurth LLP | 1
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 3 of 50
                        •   Successfully recovered substantial insurance proceeds for damage caused to
 BAR ADMISSIONS             office building by gas explosion.
 District of Columbia   •   Represented a private golf club in Naples, Florida to secure recovery for building
                            and outdoor grounds damage caused by Hurricane Irma.
 Florida
                        •   Secured a seven-figure recovery on behalf of national furniture company due to
 Virginia                   business interruption caused by Hurricanes Harvey and Irma.
                        •   Obtained summary judgment for our client in the World Trade Center
                            Properties coverage litigation, regarding the number of occurrences arising
                            from the 9/11 terrorist attack.
                        •   Secured a favorable award in arbitration related to a dispute regarding
                            obligations to manage a book of umbrella and high excess liability risks. The
                            arbitration panel granted all relief requested by our client, a result that was
                            confirmed by the Supreme Court of New York.
                        •   Litigated D&O issues involving claims against public union board of directors.
                        •   Represented clients in numerous criminal investigations regarding D&O
                            coverage.
                        •   Represented non-profit boards of directors on fiduciary claims under D&O
                            policies.
                        •   Advised clients on potential D&O and cyber insurance coverage for data breach
                            claims.
                        •   Obtained summary judgment for client on Civil Authority claim arising out of a
                            North Carolina hospital’s business interruption claims related to Hurricane
                            Floyd.
                        •   Led coverage strategy for a mobile home manufacturer facing hundreds of
                            claims arising out of FEMA's use of our client’s recreational vehicles as
                            “temporary” living accommodations following Hurricanes Katrina and Rita,
                            resulting in alleged exposure to formaldehyde.
                        •   Successfully represented a client in district court and appellate court
                            proceedings to determine the number of occurrences that resulted from claims
                            brought due to several shootings at a graduation party in Miami, Florida.
                        •   Counsel for a national real estate development company on coverage under a
                            Builder’s Risk policy for property damage, delay damages, and business income
                            loss resulting from a significant gas explosion affecting construction of a high-
                            rise hotel and office tower. Also advised the client on coverage for potential
                            third party claims under its commercial general liability policies and additional
                            insured coverages.
                        •   Obtained summary judgment in the Eastern District of Virginia on the question
                            of the reach of territorial coverage for international terrorism claims, in a
                            decision affirmed by the Fourth Circuit.
                        •   Selected reported cases include:
                            •   Pebblebrook Hotel Trust v. Allied World Assurance Co. (U.S.) Inc., et al., No.
                                00035 (Pa. Ct. Com. Pl. Dec. 28, 2022)
                            •   U.S. Sugar Corp. v. Commerce and Industry Insurance Company, No. 1:22-cv-
                                21737 (S.D. Fla. Dec. 2, 2022)




                                                                                         Hunton Andrews Kurth LLP | 2
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 4 of 50
                          •   Lionbridge Technologies, LLC v. Valley Forge Ins. Co., No. 21-1698, --- F.4th ---,
                              2022 WL 17090379, at *10 (1st Cir. Nov. 21, 2022)
                          •   Ralph Lauren Corporation v. Factory Mutual Insurance Company, No. 2:20-cv-
                              10167-SDW-LDW (D.N.J. Aug. 7, 2020)
                          •   Out West Restaurant Group. Inc. v. Affiliated FM Insurance Co., Case No. 20-
                              cv-06786-TSH (N.D. Cal. Dec. 4, 2020)
                          •   The Children’s Place, Inc. v. Zurich American Insurance Co., No. 2:20-cv-07980-
                              ES-CLW (D.N.J. Sept. 17, 2021)The Children’s Place, Inc. v. Great American
                              Insurance Company, No. 2:2018-cv-11963 (D.N.J. 2019)
                          •   1401 Ocean LLC v. Zurich American Insurance Company, No. MON-L-003315-
                              20 (N.J. Super. Ct., Monmouth, 2020)
                          •   Lionbridge Technologies, Inc. v. Valley Forge Ins. Co., No. 1:20-cv-10014 (D.
                              Mass. 2020)
                          •   Mt. Hawley Insurance Company v. Brickell on the River South Tower
                              Condominium Association, Inc. et al, 2020 WL 6106856 (S.D. Fla. 2020)
                          •   The Childrens Place, Inc. v. Great Am. Ins. Co., 2019 WL 1857118 (D.N.J. Apr.
                              25, 2019)
                          •   Ranger Construction Industries, Inc. v. Allied World National Assurance
                              Company, 2019 WL 436555 (S.D. Fla. Dec. 18, 2017)
                          •   Century Sur. Co. v. Deari, No. 3:13-CV-02553-N, 2017 WL 5642578, at *1 (N.D.
                              Tex. Jan. 4, 2017) (order granting summary judgment)
                          •   Century Sur. Co. v. Seidel, 893 F.3d 328 (5th Cir. 2018) (affirming order
                              granting summary judgment)
                          •   Hillsborough County v. Star Ins. Co., ---F.3d---, 2017 WL 460999, (11th Cir.
                              2017)
                          •   State Nat. Ins. Co. v. Robert, 139 So. 3d 949 (Fla. Dist. Ct. App. 2014), rev.
                              denied, No. SC14-1662, 2015 WL 1844052 (Fla. Apr. 22, 2015)
                          •   Gen. Sec. Nat'l Ins. Co. v. N.J. Intergov’tl Ins. Fund et al., No. A-5591-08T1,
                              2011 N.J. Super. Unpub. LEXIS 2288 (N.J. Super. Ct. App. Div. Aug. 25, 2011)
                          •   Cato Inst., Inc. v. Cont’l Cas. Co., et al., No. 8:11-cv-01418-JFM, 2011 WL
                              3626784 (D. Md. Aug. 16, 2011)
                          •   State Nat’l Ins. Co. v. Miami, No. 09-23273, 2010 U.S. Dist. LEXIS 105621 (S.D.
                              Fla. Sept. 21, 2010)
                          •   U.S. Specialty Ins. Co., et al. v. North River Ins. Co., et al., Civ. No. CAM-L-4901-
                              08 (N.J. Super. Ct., Law Div. March 1, 2010)
                          •   State Nat’l Ins. Co. v. Lamberti, No. 08-CV-60760, 2009 U.S. Dist. LEXIS 22707
                              (S.D. Fla. March 20, 2009); affirmed, 362 Fed. Appx. 76 (11th Cir. 2010)
                          •   CACI Int’l, Inc. v. St. Paul Fire and Marine Ins. Co., 566 F.3d 150 (4th Cir. 2009)
                          •   Parts, Inc. v. Utica Mut. Ins. Co., 602 F. Supp. 2d 617 (Md. Feb. 27, 2009)
                          •   Government Employees Ins. Co. v. Rivas, 573 F. Supp. 2d 12 (D.C. Aug. 26,
                              2008)

                      Memberships
                      •   Fellow, American College of Coverage Counsel




                                                                                          Hunton Andrews Kurth LLP | 3
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 5 of 50
                      •   American Bar Association, Section of Litigation, Insurance Coverage Litigation
                          Committee (Former Chair, 2001-2004)
                      •   Former Member, Federation of Defense and Corporate Counsel (FDCC) (Former
                          Chair Insurance Section, 2008-2010)
                      •   Former Member, International Association of Defense Counsel (IADC)
                      •   Life Fellow, American Bar Foundation

                      Awards & Recognition
                      •   Named a Best Lawyer in Insurance Law and Insurance Litigation, The Best
                          Lawyers in America, 2023-2024
                      •   Recommended for Insurance: Advice to Policyholders, Legal 500 United States,
                          2019-2023
                      •   Recognized as a Distinguished Leader by the Daily Business Review Florida Legal
                          Awards, 2021
                      •   Recognized, South Florida Legal Guide, 2021
                      •   Most Highly Regarded, Who’s Who Legal: Florida – Insurance & Reinsurance, 2020
                      •   Recognized as a Leader in Insurance: Dispute Resolution, Florida, Chambers
                          USA, 2020-2023
                      •   Selected as a Florida Trailblazer, Daily Business Review, 2019
                      •   Honoree, Attorney of the Year, Daily Business Review’s 2018 Professional
                          Excellence Awards
                      •   Candidate, Man of the Year, The Leukemia & Lymphoma Society (LLS), 2018

                      Events
                      •   Speaker, We’ve Been Hacked! Combating Cyber Attacks & Emerging Threats,
                          ALM PropertyCasualty360 Complex Claims & Litigation Forum, Las Vegas, NV,
                          February 28, 2023
                      •   Co-presenter, Insurance Coverage for COVID-19 Losses: A Policyholder’s View
                          on Groundbreaking Legal Authority, Establishing Business Interruption
                          Coverage, and Combatting So-Called “Virus” Exclusions, myLawCLE, December
                          16, 2020
                      •   Co-presenter, Best Practices for Coronavirus Claim Recovery, Hospitality and
                          Asset Manager Association Webinar Educational Session, March 27, 2020
                      •   Co-presenter, COVID-19: The Insurance Implications For Banks and Their
                          Customers, Independent Community Bankers of America Webinar, March 26,
                          2020
                      •   Speaker, Cyber Insurance: A Year In Review: What Did We See in 2019 and What
                          Does That Tell Us About What to Expect in 2020? (Enquiron Webinar), January
                          23, 2020
                      •   Speaker, “Experts and their Role in Bad Faith Litigation,” 2019 Insurance Law
                          Symposium, Nova Southeastern University, Davie, Florida, November 1, 2019
                      •   Speaker, ACCC Dialogue: Ransomware, October 8, 2019
                      •   Hurricanes: Insurance Recovery and Claims Presentation, May 7, 2019




                                                                                    Hunton Andrews Kurth LLP | 4
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 6 of 50
                      •   Presenter, Cyber Threat Landscape: Cases, Trends, and Risk Management,
                          January 17, 2019
                      •   Speaker, PLI’s Cybersecurity 2018: Managing Cybersecurity Incidents, November
                          6, 2018
                      •   Speaker, Insurance Isn’t Enough: Cyber Risk Management Though Indemnity
                          Contracts, RIMS Cyber Risk Forum, Seattle, WA, October 4, 2018
                      •   Speaker, Seminar: Improving Hurricane Preparedness, September 24, 2018
                      •   Panelist, “$5 Billion Ransomware Business,” 43rd Annual Florida RIMS
                          Educational Conference, Naples, Florida, June 20, 2018
                      •   Speaker, Managing Cybersecurity Governance in the Boardroom, June 5, 2018
                      •   Panelist, “Protecting Your Board and C-Suite: Hot Topics in Directors and
                          Officers Insurance Coverage,” Lunch and Learn CLE, Miami, FL, May 8, 2018
                      •   Speaker, “Cyber Thursday: Is Cyber Insurance the Answer: Best Practices for
                          Addressing Cyber Risks and Cyber Insurance,” R-CISC webinar, April 12, 2018
                      •   Speaker, “Insurance Coverage Litigation: 30 Years of Lessons Learned,” 2018
                          Insurance Coverage Litigation Committee CLE Seminar, Tucson, Arizona, March
                          2, 2018
                      •   Presenter, “Insurance Implications of Hurricanes—Lessons Learned and Tips for
                          the Future,” Florida Institute of CPAs—Valuation, Forensic Accounting and
                          Litigation Services Conference, January 11, 2018
                      •   Speaker, FEI & WEL Present Cyber Risk – Manage, Transfer or Fingers-Crossed!,
                          January 10, 2018
                      •   Speaker, Real Estate and Cyber Attacks: Why You’re Not Above the Risk, January
                          9, 2018
                      •   Speaker, A Primer on Cyber Insurance: Is It Your Answer To Surviving A
                          Cybersecurity Crisis?, November 14, 2017
                      •   Speaker, Rethinking Insurance Coverage for Autonomous Vehicles, 2017
                          University of Michigan Law School Symposium, Ann Arbor, MI, October 20, 2017
                      •   Co-presenter, GMBHA Presents Weathering Hurricane Irma Losses: A Guide to
                          Insurance Recovery & Claim Preparation for Irma Insurance Claims, Greater
                          Miami & The Beaches Hotel Association Conference, September 26-27, 2017
                      •   Co-presenter, Insurance Coverage: Is Your Co-op Covered?, NRECA Legal
                          Seminar, Portland, Oregon, July 24, 2017
                      •   Panelist, GMBHA Cyber Security Panel, Miami, FL, February 1, 2017
                      •   Presenter, Banking & Financial Services CEO Roundtable, Greater Miami
                          Chamber of Commerce, Miami, Florida, May 11, 2016
                      •   Speaker, First Party Cyber Damages: Risk Quantification and Transfer Strategies,
                          RIMS Chesapeake Chapter, Baltimore, Maryland, March 17, 2016
                      •   Focus On Cross Border Insurance Coverage Issues for Policyholders, February
                          17, 2016
                      •   Panelist, Focus On Cross Border Insurance Coverage Issues for Policyholders,
                          October 29, 2015




                                                                                   Hunton Andrews Kurth LLP | 5
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 7 of 50
                      •   Presenter, “Insurance: Best Practices for Obtaining Coverage for Your Litigation
                          Costs, Settlement and Indemnity Payments,” Litigation Strategies, Tactics, and
                          Skills, October 5, 2015
                      •   Speaker, “You Have Been Hacked, Now What?” Greater Miami Chamber of
                          Commerce, Miami, Florida, September 24, 2015
                      •   Speaker, Focus on Latin America Webinar - Cross Border Insurance Issues for
                          Policyholders Doing Business in Latin America and US, May 14, 2015

                      Media Mentions
                      •   Quoted, Merck’s War Exclusion Appeal Win May Shift Policy Language, Law360,
                          May 3, 2023
                      •   Quoted, 3rd Circ. Questions How Pandemic Orders Trigger Coverage, Law360,
                          September 28, 2022
                      •   Quoted, Pandemic, Cyberattacks Fuel Demand For Insurance Attys, Law360,
                          September 10, 2021
                      •   Featured, Distinguished Leaders: Walter J. Andrews Worked His Insurance
                          Magic During Pandemic, State Farm Insurance, June 1, 2021
                      •   Quoted, Ransomware Victims’ Coverage Hopes Surge With Ind. Ruling, Law360,
                          March 22, 2021
                      •   Quoted, Insurance Cases To Watch In 2021, Law360, January 3, 2021
                      •   Quoted, A Policyholder's Guide To Trade Credit Insurance, Law360, October 16,
                          2020
                      •   Quoted, Business Insurance Iffy During Pandemic, Agenda Week, October 12,
                          2020
                      •   Quoted, Companies say insurance companies are stiffing them over coronavirus
                          losses Article Name, CBS News, September 21, 2020
                      •   Quoted, Interruption Insurance Isn’t Saving Anyone From Covid Shutdowns,
                          Bloomberg, September 11, 2020
                      •   Featured, Business interruption lawsuits dominate Covid-19 litigation in Florida,
                          South Florida Business Journal, September 4, 2020
                      •   Quoted, Insurer Must Defend Fla. Condo In Elevator Injury Suit, Law360, March
                          12, 2020
                      •   Quoted, Even Beyond Cyberinsurance, Inconsistency Grows Over Insurer’s
                          Breach Coverage Liability, Law.com, Legaltech News, January 31, 2020
                      •   Quoted, Ransomware Victims Get New Path To Coverage In Md. Ruling,
                          Law360, January 27, 2020
                      •   Quoted, Insurance Cases To Watch In 2020, Law360, January 1, 2020
                      •   Featured, Hunton Notches Coverage of Lost Revenue After Harvey, Law360,
                          December 19, 2019
                      •   Quoted, FBI softens line on ransomware payments, Global Data Review,
                          October 4, 2019
                      •   Quoted, Business Insurance Iffy During Pandemic, Agenda Week, October 12,
                          2020

                      Publications



                                                                                    Hunton Andrews Kurth LLP | 6
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 8 of 50
                      •   Co-author, Florida Enacts Sweeping Tort Reform Legislation, Raising Barriers to
                          Insurance Coverage Claims, Coverage Law Center, April 25, 2023
                      •   Co-author, Eleventh Circuit Rescinds Prior Restriction on Excess Judgments for
                          Bad Faith Claims, Daily Business Review, September 16, 2022
                      •   Co-author, The Eleventh Circuit Clarifies and Expands Bad Faith Requirements,
                          Daily Business Review, May 13, 2022
                      •   Co-author, Cyberattacks Lead to Increased Scrutiny: How Can Companies Stay
                          Ahead of the Curve?, Daily Business Review, January 17, 2022
                      •   Co-author, Using the War Exclusion to Deny Computer Virus Claims, The Risk
                          Report, March 2021
                      •   Co-author, Construing Ambiguities: Insurers Cannot Meet Their Burden in
                          COVID-19 Cases, Daily Business Review, December 7, 2020
                      •   Co-author, Will Insurers Invoke the “War Exclusion” to Deny Coverage for Losses
                          from Ransomware?, ACCC, December 2020
                      •   Co-author, OFAC Cyber Ransom Guidance Has Insurance Implications, Law360,
                          November 16, 2020
                      •   Co-author, Fla. Court Refuses to Apply So-Called ‘Virus Exclusion’ in COVID
                          Insurance Lawsuit, Daily Business Review, November 11, 2020
                      •   Groundbreaking Opinion: COVID Sufficient to Trigger Business Interruption
                          Coverage, Daily Business Review, September 24, 2020
                      •   Co-author, Can Estoppel Coverage be Created if Defense Prejudices the
                          Insured?, Law.com, February 26, 2020
                      •   Co-author, For Businesses Suffering From Coronavirus Losses, Insurance
                          Coverage May Offer a Remedy, Daily Business Review, February 12, 2020
                      •   Co-author, Court: You Can Create Coverage by Estoppel if Insurer’s Defense
                          Prejudices the Insured, Daily Business Review, February 11, 2020
                      •   Co-author, Rethinking Insurance Coverage for Autonomous Vehicles, ABA
                          SciTech Lawyer Magazine, August 21, 2019
                      •   Co-author, Cybersecurity Insurance – Mitigating Compliance Risk Under the
                          DFARS and Other Federal Regulations, Contract Management, August 2019
                      •   Co-author, Eroding Insurance Policies: As Time Passes, Policyholders Lose Out,
                          Daily Business Review, August 6, 2019
                      •   Co-author, Do You Have a Claim if Your Business Was Interrupted Due to a
                          Hurricane?, Daily Business Review, May 16, 2019
                      •   Co-author, Not So Fast: Federal Court Blocks Insurers’ Bid to Remove to Federal
                          Court, Daily Business Review, March 28, 2019
                      •   Co-author, Clock Ticks for Irma Insurance Claims: Don’t Leave Money on the
                          Table, Daily Business Review, August 14, 2018
                      •   Author, Is Insurance a Safety Net for Phishing of Whaling Attacks?, Daily
                          Business Review, August 8, 2018




                                                                                    Hunton Andrews Kurth LLP | 7
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 9 of 50
                      •   Co-author, Navigating Insurance Claims for Business Interruption after
                          Hurricane Irma: Key Considerations to Avoid Leaving Money on the Table, May
                          2018
                      •   Co-author, Sexual Harassment and Insurance: Are Your Clients’ Businesses
                          Covered?, PropertyCasualty360, March 8, 2018
                      •   Co-author, #MeToo—Sexual Harassment and Insurance. Is Your Business
                          Covered?, Daily Business Review, March 1, 2018
                      •   Co-author, Your Liability Insurer May Be Obligated to Provide a Defense in the
                          Chapter 558 Process, Daily Business Review, January 18, 2018
                      •   Co-author, After Irma: Is Your Business Entitled to Insurance Coverage for
                          Additional Lost Profits?, Daily Business Review, December 22, 2017
                      •   Co-author, 3 Takeaways Squeezed Out of Juicer’s Insurance Battle, Law360,
                          December 21, 2017
                      •   Co-author, How To Avoid Getting Squeezed Out Of Coverage, Law360,
                          December 21, 2017
                      •   Co-author, Bloomberg Law Practice Suite – Cyber Insurance, Bloomberg BNA,
                          October 12, 2017
                      •   Co-author, In the Race to Win the Autonomous Vehicle Market, Covering Risk Is
                          Key, Daily Business Review, October 11, 2017
                      •   Author, Multiple hurricanes, multiple insurance claims, Houston Chronicle,
                          September 15, 2017
                      •   Co-author, Court Resolves Reinsurance Limits Dispute Based on Contract’s
                          Unique Terms, Law360, September 14, 2017
                      •   Co-author, The First 60 Days Post-Irma Are Critical to Your Insurance Recovery,
                          Daily Business Review, September 12, 2017
                      •   Co-author, The Arrival of Hurricane–and College Football–Season Underscores
                          the Importance of Having Event-Cancellation Insurance in Place, September 8,
                          2017
                      •   Co-author, Harvey Reminds South Florida to Review Insurance Coverage Before
                          Irma, Daily Business Review, September 6, 2017
                      •   Co-author, Harvey Reminds South Florida to Review Insurance Coverage Before
                          Irma, The American Lawyer, September 6, 2017
                      •   Co-author, Practitioner Insights: Coal Ash Poses Slew of Coverage Issues,
                          Bloomberg BNA, August 29, 2017
                      •   Real Estate Is Not Above the (Cyber Attack) Risk, Commercial Observer, August
                          9, 2017
                      •   Commentary, Ransomware Attacks Highlight Need for Cyberinsurance
                          Coverage, Daily Business Review, August 2, 2017
                      •   Author, Have You Examined Your Cyber Insurance Policy Lately? (Q&A with
                          Walter Andrews), Daily Business Review, July 6, 2017
                      •   Co-author, New Opportunities – and New Risks – in an Era of Autonomous
                          Vehicles, Risk & Compliance, July-September 2017
                      •   Co-author, The USF&G (Western MacArthur) Case: Key Takeaways, Westlaw
                          Journal Insurance Coverage, June 23, 2017




                                                                                    Hunton Andrews Kurth LLP | 8
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 10 of
                      • Co-author, Ensuring Your
                                              50 Business Has Adequate Insurance Coverage Before A
                              Hurricane Strikes, June 2017
                          •   Co-author, Not If, But When: Five Questions You Should Ask When Seeking
                              Cyber Insurance, Global Banking & Finance Review, April 17, 2017
                          •   Co-author, A Cyber Coverage Warning for Hospitality Insureds, April 2017
                          •   Contributing Author, First Party Insurance Compendium: Fee Shifting, ACCEC,
                              March 2017
                          •   Co-author, Digital Due Diligence: Four Questions to Evaluate Cyber Insurance
                              Coverage, Risk Management Magazine, March 1, 2017
                          •   Protecting Business Income When Disaster Strikes, December 2016
                          •   Co-author, After Matthew, The Insurance Storm Begins, Daily Business Review,
                              October 11, 2016
                          •   Co-author, Cross-Border Insurance Coverage, New Appleman Insurance Law,
                              LexisNexis Publishers, September 15, 2016
                          •   Co-author, Insurance Planning for 2016: Top Ten Real Estate Liability Concerns,
                              Real Estate Finance Journal, April 12, 2016

                          Blog Posts
                          •   Co-author, Florida Enacts Sweeping Tort Reform Legislation, Raising Barriers to
                              Insurance Coverage Claims, Hunton Insurance Recovery Blog, April 17, 2023
                          •   Co-author, Hunton Andrews Kurth Attorneys Weigh In On How To Minimize
                              Cyberattack Risks With Insurance, Hunton Insurance Recovery Blog, January 19,
                              2022
                          •   Co-author, While OFAC Cautions Cyber Insurers About Facilitating Ransomware
                              Payments, Policyholders Should Ensure They’re Covered, Hunton Insurance
                              Recovery Blog, November 3, 2020
                          •   Co-author, As Laura Wreaks Havoc Along The Gulf, Is Your Insurance Ready to
                              Respond?, Hunton Insurance Recovery Blog, August 26, 2020
                          •   Co-author, Dust Obscures Eleventh Circuit’s Ruling on “Direct Physical Loss”,
                              Hunton Insurance Recovery Blog, August 21, 2020
                          •   Co-author, Workers Compensation, Insurance, and COVID-19, Hunton Insurance
                              Recovery Blog, March 19, 2020
                          •   Co-author, Workers Compensation, Insurance, and COVID-19, Hunton
                              Employment & Labor Perspectives, March 16, 2020
                          •   Co-author, Maryland Court Finds Coverage For Lost Data And Slow Computers
                              After Ransomware Attack, Hunton Insurance Recovery Blog, January 27, 2020
                          •   Co-author, Insurer Must Face Email Spoofing Lawsuit, Hunton Insurance
                              Recovery Blog, November 15, 2019
                          •   Co-author, Let’s Keep It Civil: Appeals Court Ruling on Napoleonic Civil Code
                              Provision Highlights the Importance of Insurance Coverage Reviews, Hunton
                              Insurance Recovery Blog, July 25, 2019
                          •   Co-author, Insurance Groups Support Travelers In 11th Circuit Breach Row,
                              Hunton Insurance Recovery Blog, March 7, 2019




                                                                                        Hunton Andrews Kurth LLP | 9
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 11 of
                      • Co-author, Unpaid Hurricane
                                             50 Maria Insurance Claims, New Laws in Puerto Rico,
                             and the Lesson for all Policyholders, Hunton Insurance Recovery Blog, December
                             19, 2018
                         •   Co-author, Financial Institutions Should Implement Cyber Insurance Programs,
                             Banking Regulators Say, Hunton Insurance Recovery Blog, May 7, 2018
                         •   Author, Florida Federal Court Reinforces Principle That Precise Policy Language
                             Is Required Before An Insurer Can Deny Coverage Based On An Exclusion,
                             Hunton Insurance Recovery Blog, February 6, 2018
                         •   Co-author, In Hazing Case, Court Finds Potential Coverage Under Homeowners’
                             Policy, Hunton Insurance Recovery Blog, January 23, 2018
                         •   Author, Florida Court Holds Commercial Property Insurance Policy Covers Costs
                             to Comply with Building Code Post-Hurricane, Hunton Insurance Recovery Blog,
                             January 4, 2018




                                                                                     Hunton Andrews Kurth LLP | 10
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 12 of
                                      50
                                                          Cary D. Steklof
                                                          Counsel

                                                          csteklof@HuntonAK.com
                                                          Miami
                                                          +1 305 810 2463




SERVICES
                            Cary is an experienced litigator and advisor who represents
                            policyholders in all types of insurance coverage and bad faith
Industries
                            disputes.
Retail and Consumer
Products                    With experience in the areas of insurance litigation, insurer bad faith and unfair
Hospitality                 insurance practices, Cary D. Steklof concentrates his practice on advising
Energy                      policyholders in connection with director and officer, error and omission, cyber,
                            commercial general liability and commercial property insurance policies. Cary has
Financial Services          directed litigation and handled claims across the spectrum of insurance products
Practices                   and has assisted his clients in obtaining tens of millions of dollars in coverage over
                            the course of his career. In addition to litigating and securing substantial recoveries,
Insurance Coverage
                            Cary has reviewed the insurance programs of domestic and international
Litigation                  companies to provide advice on mitigating risks and gaps in insurance coverage.
Cross-Border Insurance      This has included negotiating directly with insurance underwriters to assist clients
Coverage                    in seeking the most comprehensive coverage that is commercially available. As a
Cyber Insurance
                            trusted resource for his clients, Cary frequently provides advice to in-house
                            counsel, company executives, and risk managers regarding complex insurance
Cyber Investigations and    litigation, sources of business exposure, and contract negotiations.
Privacy Litigation
                            Cary also has extensive experience representing bankruptcy trustees, receivers,
Crisis Management           assignees and corporate entities in disputes with all types of insurers. He has
Bankruptcy, Restructuring   successfully represented dozens of fiduciary clients seeking insurance proceeds
and Creditors’ Rights       under director and officer insurance policies in some of the country’s highest
                            profile bankruptcy cases. In recognition of his work, the Daily Business Review
                            named Cary a finalist for the Most Effective Lawyers in Bankruptcy award in 2014.
EDUCATION
                            Nationally publicized cases in this area have included:
JD, Washington University   •   In re Rothstein Rosenfeldt Adler, P.A., United States Bankruptcy Court, Southern
in St. Louis, cum laude,        District of Florida – Secured $10 million in insurance proceeds under various
Editor, Washington              liability policies on behalf of Chapter 11 trustee
University Global Studies
Law Review, 2010
                            •   In re Fontainebleau Las Vegas Holdings, LLC, et al., United States Bankruptcy
                                Court, Southern District of Florida – Obtained $25 million in policy proceeds on
BA, Northwestern                behalf of Chapter 7 trustee pursuing debtors’ directors and officers
University, cum laude,
2007                        •   In re CDC Corp., United States Bankruptcy Court, Northern District of Georgia –
                                Achieved $6 million settlement with insurer on behalf of liquidating trustee and
                                entity’s directors and officers




                                                                                          Hunton Andrews Kurth LLP | 11
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 13 of
                                      50
                     Complementing his substantial litigation background, Cary also has extensive
BAR ADMISSIONS       experience with mediation and alternative dispute resolution. He has represented
                     clients in dozens of mediations over his career, a substantial portion of which
Florida
                     resulted in resolutions. Cary is also certified by the Florida Supreme Court as a
                     Circuit Civil Mediator in all courts throughout the state of Florida. This adds unique
                     value to his own clients in the ADR context and also positions him to assist other
                     parties in mediating all types of commercial disputes.
                     Cary has been published and is frequently invited to speak on numerous current
                     insurance issues such as business interruption coverage for COVID-19 and
                     catastrophic hurricane losses. He has also previously spoken and consistently
                     written on topics including director and officer insurance, insurance issues unique
                     to bankruptcy court, and institutional bad faith. Cary has been recognized by his
                     peers and numerous outlets as part of Florida’s legal elite in the field of insurance
                     coverage.
                     Cary previously served as a judicial intern to federal Judge Robin S. Rosenbaum in
                     the Southern District of Florida (currently on the Eleventh Circuit Court of Appeals)
                     and as a legal intern in the Civil Division of the United States Attorney’s Office in Ft.
                     Lauderdale. He has also volunteered his time for numerous pro bono clients
                     including ChemoCars, a 501(c)(3) that arranges free rides for cancer patients to and
                     from treatment. Cary is admitted to practice before the US Court of Appeals for the
                     Eleventh Circuit, as well as the US District Courts for the Southern and Middle
                     Districts of Florida.

                     Certifications
                     •   Florida Supreme Court Certified Circuit Civil Mediator

                     Awards & Recognition
                     •   Recommended for Insurance: Advice to Policyholders, Legal 500 United States,
                         2022
                     •   Selected as a “Top Up and Comer” by the South Florida Legal Guide, 2021
                     •   Selected to Florida Trend’s Legal Elite Up & Comers List, 2021-2022
                     •   Recognized as One to Watch in Insurance Law, The Best Lawyers in America,
                         2021, 2023-2024
                     •   Selected to Florida Trend’s Legal Elite Up & Comers List, 2019
                     •   Finalist, Most Effective Lawyers in Bankruptcy, Daily Business Review, 2014

                     Events
                     •   Co-presenter, The Art of Mediation: Strategies, Insights, and Professionalism in
                         Seeking an Amicable Resolution, Hunton Andrews Kurth CLE, December 8, 2021
                     •   Co-presenter, Windstorm Deductibles, Sublimits, and Exclusions: Oh My! A
                         Guide to Ensuring You Have Sufficient Coverage in Place Prior to Hurricane
                         Season, Hunton Andrews Kurth CLE, June 3, 2021
                     •   Co-presenter, Insurance Coverage for COVID-19 Losses: A Policyholder’s View
                         on Groundbreaking Legal Authority, Establishing Business Interruption
                         Coverage, and Combatting So-Called “Virus” Exclusions, myLawCLE, December
                         16, 2020




                                                                                    Hunton Andrews Kurth LLP | 12
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 14 of
                                      50
                     •   Panelist, “Protecting Your Board and C-Suite: Hot Topics in Directors and
                         Officers Insurance Coverage,” Lunch and Learn CLE, Miami, FL, May 8, 2018
                     •   Speaker, Cracking the D&O Code: The Keys to Insurance Recovery and Injunctive
                         Orders in Bankruptcy Court, ABI Southeast Bankruptcy Workshop, Amelia
                         Island, Florida, July 2016
                     •   Speaker, Errors and Omissions Insurance: Triggers, Exceptions, and Exclusions,
                         National Business Institute, Continuing Legal Education Teleconference, April
                         2016
                     •   Speaker, Fiduciary Duties of Directors and Officers of Distressed Companies,
                         ABA Business Law Section Spring Meeting, San Francisco, California, April 2015

                     Publications
                     •   Co-author, Fla. Court Refuses to Apply So-Called ‘Virus Exclusion’ in COVID
                         Insurance Lawsuit, Daily Business Review, November 11, 2020
                     •   Groundbreaking Opinion: COVID Sufficient to Trigger Business Interruption
                         Coverage, Daily Business Review, September 24, 2020
                     •   Co-author, To Offset or Not to Offset: The Interaction between CARES Act
                         Payments/PPP Loans and Insurance Recoveries Due to COVID-19, Business Law
                         Today, June 12, 2020
                     •   Co-author, For Businesses Suffering From Coronavirus Losses, Insurance
                         Coverage May Offer a Remedy, Daily Business Review, February 12, 2020
                     •   Co-author, Do You Have a Claim if Your Business Was Interrupted Due to a
                         Hurricane?, Daily Business Review, May 16, 2019
                     •   Co-author, When Worried About Collusion, Insist on Independent Counsel,
                         Originally published in Texas Lawyer, also published in Corporate Counsel,
                         September 25, 2018
                     •   Co-author, Clock Ticks for Irma Insurance Claims: Don’t Leave Money on the
                         Table, Daily Business Review, August 14, 2018
                     •   Co-author, Navigating Insurance Claims for Business Interruption after
                         Hurricane Irma: Key Considerations to Avoid Leaving Money on the Table, May
                         2018
                     •   Co-author, Confronting Post-Claim Underwriting: An Approach for
                         Policyholders, New Appleman on Insurance Law, January 2015
                     •   Co-author, Deciphering the Insurance Carrier’s Thought Process: To What Extent
                         Does the Attorney-Client Privilege and Work-Product Immunity Shield from
                         Disclosure Otherwise Discoverable Evidence in Bad Faith Litigation?, American
                         Conference Institute, National Advanced Forum on Bad Faith Litigation,
                         Orlando, Florida, December 2011
                     •   Co-author, Proving Institutional Bad Faith, ABA Insurance Coverage Litigation
                         Committee CLE Seminar, March 2011

                     Blog Posts
                     •   Co-author, Record-Breaking Temperatures, Record-Breaking Claims: The
                         Importance of Risk Mitigation to Reduce Severe Weather Costs, Hunton
                         Insurance Recovery Blog, August 28, 2023




                                                                                  Hunton Andrews Kurth LLP | 13
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 15 of
                                      50
                     •   Co-author, Nevada State Court Rulings Highlight Importance of Strategic
                         Decisions Early in a Case, Hunton Insurance Recovery Blog, June 2, 2023
                     •   Co-author, Harvard Declares Class is in Session: Tells Court Zurich’s Motion for
                         Summary Judgment Must Be Denied and Accuses Zurich of Playing Games,
                         Hunton Insurance Recovery Blog, September 26, 2022
                     •   Co-author, A Sign of the Times: Policyholder Forced to Sue Insurers to Resume
                         Payment of Defense Costs, Hunton Insurance Recovery Blog, June 30, 2022
                     •   Co-author, Another State Court Rules That Insurers Cannot Escape COVID-19,
                         Hunton Insurance Recovery Blog, January 10, 2022
                     •   Co-author, Workers Compensation, Insurance, and COVID-19, Hunton Insurance
                         Recovery Blog, March 19, 2020
                     •   Co-author, Workers Compensation, Insurance, and COVID-19, Hunton
                         Employment & Labor Perspectives, March 16, 2020
                     •   Co-author, New York Appeals Court Finds Contract and Conduct Exclusions No
                         Bar to Defense of Publisher’s Copyright Claims, Hunton Insurance Recovery Blog,
                         January 2, 2020
                     •   Co-author, Sixth Circuit Reverses Insurer’s Overly Broad Application of
                         “Dishonest Acts” Exclusion, Hunton Insurance Recovery Blog, October 7, 2019
                     •   Co-author, Defense owed for Product Recall and Insured’s Related Affirmative
                         Claims, Hunton Insurance Recovery Blog, January 18, 2019
                     •   Co-author, Unpaid Hurricane Maria Insurance Claims, New Laws in Puerto Rico,
                         and the Lesson for all Policyholders, Hunton Insurance Recovery Blog, December
                         19, 2018
                     •   Co-author, California Supreme Court Rules That General Liability Insurer Must
                         Defend Employer Against Employee Misconduct Allegations, Hunton Insurance
                         Recovery Blog, June 15, 2018




                                                                                   Hunton Andrews Kurth LLP | 14
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 16 of
                                      50
                                                         Andrea DeField
                                                         Partner

                                                         adefield@HuntonAK.com
                                                         Miami
                                                         +1 305 810 2465




SERVICES
                           Andrea finds risk management, risk transfer, and insurance
                           recovery solutions for public and private companies.
Industries
Energy                     Andrea is a partner in the firm’s insurance coverage practice where she co-leads
                           the firm’s cyber insurance practice. She has achieved national recognition for her
Financial Services
                           work on behalf of policyholders, being named an “Elite Woman” by Insurance
Food Industry              Business America, a “Next Generation Partner” by The Legal 500, a “Rising Star” in
Hospitality                insurance by both Law360 and The Legal 500, and a recipient of the American Bar
                           Association Young Lawyer Division’s “On the Rise” Award.
Retail and Consumer
Products                   Andrea has also been ranked by Chambers & Partners in Florida: Insurance for the
                           last four years. Chambers USA quotes clients who say, “[h]er approach is highly
Practices                  strategic and her execution is flawless. Her capacity for detail is amazing and her
Insurance Coverage         communication is timely and crystal-clear,” that she “is technically astute and
Cyber Insurance            highly impressive,” and that she is “smart, works hard and is very client-focused.”
                           Her work has been profiled by Law360 and the Daily Business Review.
Litigation
                           Andrea counsels clients on all types of insurance policies and coverage issues, with
Cross-Border Insurance     a focus on insurance for cyber risks (including ransomware, large scale data breach,
Coverage                   and social engineering claims). She has counseled clients on insurance coverage for
Transactional Insurance    some of the most widely publicized cyber incidents of 2020, 2021, 2022, and 2023.
Cyber Investigations and   Andrea has substantial experience advising clients on directors and officers (D&O)
Privacy Litigation         liability and professional liability insurance issues, hurricane claims, and commercial
National Security          general liability insurance disputes (including those arising out of construction
                           defect claims, wrongful death, and pollution incidents). She has tried insurance
Energy Sector Security     coverage and bad faith cases to jury verdict and has handled appeals in state and
Team
                           federal courts across the country.

EDUCATION                  Relevant Experience
                           Cyber Insurance
JD, University of Denver
Sturm College of Law,      •   Serves as cyber insurance coverage counsel to several of the nation’s largest
Merit Scholarship              asset management firms and private equity companies.
Recipient, Scholastic      •   Represented critical infrastructure client as insurance coverage counsel with
Excellence Award in            respect to internationally publicized cyber incident.
Contracts and Federal
Courts, 2011




                                                                                         Hunton Andrews Kurth LLP | 15
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 17 of
                                      50
BS, Communication,            •   Represented international media company with respect to major cyber incident,
University of Miami, Dean’s       counseling client from day one of discovery of cyber incident through claim
List, 2008                        submission and cyber insurance renewal.
                              •   Works with clients to develop insurance protocols and procedures for cyber
BAR ADMISSIONS                    incident response plans and other disaster planning, participates in cyber
                                  tabletop exercises, and provides executive, legal, and risk department education
Florida                           on cyber insurance and the claims process.
                              •   Counseled numerous clients on large cyber-related insurance claims arising out
                                  of social engineering and fraudulent transfer schemes, data breaches, cyber
                                  extortion, ransomware, and vendor cyber incidents.
                              •   Lead coverage counsel on over 20 multi-million dollar ransomware-related
                                  insurance claims.
                              •   Lead insurance coverage counsel for major hospitality client with respect to
                                  data breach; guided client through claims process from day zero of cyber breach
                                  through breach response and investigation, notification, and subsequent
                                  putative class action lawsuits for which insurer funded response and
                                  remediation, notification, and defense costs in suits and settlement of suits.
                              •   Advised multinational retail client from day zero of cyber-attack through multi-
                                  million-dollar claims process.
                              •   Audited insurance programs for cyber risks for several major corporations,
                                  including Fortune 500 hospitality, retail, and financial services companies;
                                  private equity firms; start-ups; sharing economy clients; and energy industry
                                  companies.
                              •   Worked with client and broker to develop a comprehensive cyber insurance
                                  program for private equity investor and its over 50 portfolio companies,
                                  including drafting numerous manuscript amendatory endorsements that were
                                  accepted by insurer.
                              •   Represented client in coverage dispute arising out of three TCPA putative class
                                  action suits; obtained full insurer reimbursement for all defense costs and
                                  incurred and secured insurer funds for settlements.
                              •   Analyzed cyber insurance programs for global financial services, entertainment
                                  and gaming, technology, hospitality, and retail clients; manuscripted policy
                                  language for endorsements; and negotiated with brokers and underwriters for
                                  improved language for renewal.
                              Litigation and Arbitration
                              •   Representing national banking institution in arbitration concerning coverage
                                  under D&O insurance policy for underlying securities suit.
                              •   Representing investment firm in insurance coverage action in New York
                                  Supreme Court Commercial Division wherein client is seeking to obtain recovery
                                  of defense costs and potential settlement or judgment amounts in foreign
                                  regulatory proceeding concerning the acquisition and restructuring of a
                                  financially distressed entity.
                              •   Resolved large real estate developer’s claim for defense and indemnity against
                                  subcontractor’s general liability insurer for losses incurred in underlying
                                  construction defect litigation.




                                                                                           Hunton Andrews Kurth LLP | 16
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 18 of
                                      50
                     •   Represented major real estate developer in insurance coverage declaratory
                         action in Florida federal court concerning subcontractor’s general liability
                         insurance coverage and OCIP coverage.
                     •   Represented major petroleum pipeline in insurance coverage action in federal
                         court concerning recovery from pollution legal liability insurer for benefits owed
                         arising out of environmental incident.
                     •   Part of team that preserved client’s victory in $80 million insurance coverage
                         dispute affirmed by Fifth Circuit Court of Appeals and for which certiorari was
                         denied by Supreme Court of the United States.
                     •   Obtained jury verdict for policyholder in declaratory judgment action on post-
                         loss condition compliance in seven-figure property insurance dispute.
                     •   Resolved insurance coverage and bad faith litigation on behalf of major
                         infrastructure construction client in coverage dispute arising out of
                         subcontractor accident and insurer’s failure to settle; wrote, argued, and won
                         several key discovery and dispositive motions prior to settlement.
                     •   Represented client in seven-figure insurance coverage litigation under builder’s
                         risk policy over losses arising out of Hurricane Charley; won several motions in
                         trial court before ultimately settling.
                     •   Represented individual clients in insurance recovery and bad faith action in
                         Florida state court arising out of seven-figure benefits due under variable life
                         insurance policy; prevailed on several key motions before settling.
                     •   Resolved inverse condemnation and slander suit brought by aviation client
                         through consent judgment and assignment of rights to pursue defendant’s non-
                         defending insurer; brought coverage suit against non-defending insurer, which
                         was ultimately settled.
                     •   Drafted several insurance coverage appellate briefs, opposition briefs, and
                         amicus briefs, including to Florida’s Third District Court of Appeals, Florida’s
                         Fourth District Court of Appeals, Florida’s Fifth District Court of Appeals, the
                         Eleventh Circuit Court of Appeals, the Florida Supreme Court, the Fifth Circuit
                         Court of Appeals, the Fourth Circuit Court of Appeals, and several state supreme
                         courts.
                     •   While in law school, served as a clerk to the Colorado Office of the Attorney
                         General: Appellate Division and a law clerk in the Colorado Governor’s Office of
                         Legal Counsel.
                     Claims
                     •   Lead counsel to a global private equity firm and many of its portfolio companies
                         with respect to coverage for various underlying suits; resolved numerous
                         defense and indemnity claims through informal negotiation and/or mediation
                         with insurers.
                     •   Advised several national retailers and hospitality companies on coverage for riot
                         and civil commotion losses and guiding these companies through the claims
                         process.
                     •   Serves as coverage counsel for several nationally known retailers; advised
                         clients on coverage for business interruption and contract losses arising out of
                         natural disasters (sinkholes, collapses, fires, and hurricanes) and cyber events.




                                                                                   Hunton Andrews Kurth LLP | 17
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 19 of
                                      50
                     •   Serves as outside coverage counsel for nationally known residential real-estate
                         developer and property management firm; representative experience includes
                         resolving coverage disputes and obtaining insurance funding for settlement of
                         underlying wrongful death, bodily injury, property damage and construction
                         defect suits; negotiating with crime and fidelity insurer to recover first party
                         losses.
                     •   Advised major health care client on coverage under D&O and Errors and
                         Omissions (E&O) policies for multidistrict litigation alleging violations of federal
                         and state antitrust laws; resolved insurance dispute through ADR.
                     •   Represented luxury residential real estate developer in coverage dispute arising
                         out of significant delay to project caused by Hurricane Irma; resolved coverage
                         dispute with builder’s risk insurer.
                     •   Resolved numerous “large loss” property damage and business interruption
                         claims through alternative dispute resolution, including claims involving 100+
                         insured locations.
                     •   Resolved large loss first party property dispute arising out of sinkhole loss in
                         Central Florida after filing Florida Civil Remedy Notice of Insurer Violation.
                     •   Advised clients through claims process under D&O, E&O and other professional
                         liability, employment practices (EPLI), property, business interruption,
                         commercial general liability (CGL), pollution legal liability (PLL), cyber (including
                         privacy and security, reputation management, network interruption, cyber
                         extortion, technology E&O and other cyber-related coverages), crime, fidelity,
                         and other insurance policies.
                     Transactional Insurance Advice, Policy Audit, and Counseling
                     •   Conducted comprehensive insurance audit to identify coverage issues and gaps
                         in insurance program (including captive policies) for nonprofit health insurer
                         serving over four million members.
                     •   Conducted coverage analyses of publicly traded global travel company’s D&O,
                         Side-A D&O, Employment Practices Liability, Fiduciary Liability and cyber
                         insurance program and recommended manuscript endorsements and other
                         changes for renewal.
                     •   Completed insurance due diligence for several major transactions, including
                         $3.5 billion energy industry acquisition.
                     •   Serves as coverage counsel for national franchise food service company;
                         responsibilities include: providing advice on indemnity agreements and
                         insurance requirements in contracts with third parties, representing client in
                         coverage negotiations with insurers over defense and indemnity obligations
                         under liability policies, assisting client with claim presentation and recovery of
                         property damage and business interruption losses arising out of sinkholes and
                         hurricanes, and analyzing client’s insurance program for gaps in coverage in
                         preparation for renewal.
                     •   Regularly advises clients on additional insured, indemnity, and required
                         insurance provisions in vendor contracts and represents clients in negotiations
                         with counterparties.




                                                                                     Hunton Andrews Kurth LLP | 18
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 20 of
                                      50
                     Memberships
                     •   Vice-Chair, ABA Tort Trial & Insurance Practice Section: Cybersecurity & Data
                         Privacy Committee, 2019 through 2021.
                     •   Member, Florida Bar: Eleventh Circuit Grievance Committee (B), 2017 through
                         2020.
                     •   Member, ABA Standing Committee on Disaster Response and Preparedness,
                         2016 through 2019.
                     •   Member, ABA Cybersecurity Task Force, 2017 through 2019.
                     •   Co-Chair, ABA Section of Litigation: Insurance Coverage and Litigation
                         Committee Hurricane Task-Force, 2017 through 2018.
                     •   Member, ABA Tort Trial & Insurance Practice Section and Section of Litigation,
                         2012 through present.
                     •   Member, ABA Section of Litigation: Insurance Coverage Litigation, 2012 through
                         present.

                     Awards & Recognition
                     •   Named a “Leadership in Law” Honoree, South Florida Business & Wealth’s Legal
                         Awards, 2022
                     •   Named a Top 40 Young Lawyer On the Rise, ABA’s Young Lawyers Division, 2022
                     •   Named among Insurance Rising Stars, Law360, 2022
                     •   Recognized as a Next Generation Partner (2022-2023) and Rising Star (2021) for
                         Insurance: Advice to Policyholders, Legal 500 United States
                     •   Recognized as an Elite Woman, Insurance Business America (IBA), 2022
                     •   Recognized as a Legal Elite Up & Comer, Florida Trend, 2021-2022
                     •   Recognized as a Leader in Insurance: Dispute Resolution, Florida, Chambers
                         USA, 2019-2023
                     •   Recognized as “One to Watch,” The Best Lawyers in America, 2021-2024
                         editions
                     •   Selected as a Rising Star for Insurance Coverage, Florida Super Lawyers
                         Magazine, 2018-2021
                     •   Named an “On the Rise” Honoree, Daily Business Review’s Professional
                         Excellence Awards, 2020
                     •   Received “RISE Award”, Rising Insurance Star Executives, 2019
                     •   Named among 40 Under 40 Outstanding Lawyers of South Florida, Cystic
                         Fibrosis Foundation, 2018
                     •   Received “Rookie of the Year” Award, Greater Miami Chamber of Commerce
                         HYPE Awards, 2017

                     Events
                     •   Speaker, Analyzing D&O and E&O Coverage for Data Breach and Privacy
                         Litigation and for Regulatory Investigations, Strafford CLE Webinar, October 3,
                         2023




                                                                                  Hunton Andrews Kurth LLP | 19
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 21 of
                                      50
                     •   Speaker, Breach Response: What Keeps Your Insureds Up at Night, Canopius
                         USA’s 2023 Cyber Academy, September 7, 2023
                     •   Speaker, Maximizing Cyber Coverage Renewals in a Hard Market, RIMS 2023
                         RISKWORLD Annual Conference, Atlanta, GA, May 3, 2023
                     •   Speaker, Maximizing Insurance Recovery for Hurricane Losses, November 1,
                         2022
                     •   Speaker, Ransomware on the Rise – Is your Business Covered?, Florida RIMS
                         Educational Conference, Naples, FL, July 28, 2022
                     •   Panelist, Like a Breach Over Troubled Waters: How to Navigate a Cyber Incident
                         2022, District of Columbia Bar CLE, July 21, 2022
                     •   Speaker, Five Risks That Keep Your CEO Up at Night and How to Mitigate Them,
                         RIMS 2022 RISKWORLD Annual Conference, San Francisco, CA, April 11, 2022
                     •   Panelist, Regulatory Roulette: Leveraging and Navigating State Insurance
                         Departments, 2022 Insurance Coverage Litigation Committee CLE Seminar,
                         American Bar Association, March 4, 2022
                     •   Speaker, Risks That Keep the C-Suite Up at Night—And How to Insure Them!,
                         ABA Litigation Section’s 2022 Corporate Counsel CLE Seminar, Orlando, FL,
                         February 19, 2022
                     •   Co-presenter, Ready for Ransomware, Risk and Insurance Management Society
                         (RIMS) TechRisk/Risk Tech Virtual Webinar, January 26, 2022
                     •   Co-presenter, Cybersecurity Insurance, American Petroleum Institute’s 16th
                         Annual Cybersecurity Conference for the Oil & Natural Gas Industry, November
                         10, 2021
                     •   Speaker, Three Risks That Keep Your CEO Up at Night—And How to Mitigate
                         Them!, Retail Industry Leaders Association (RILA) Retail Law Conference,
                         Wednesday, October 27, 2021
                     •   Co-presenter, It’s Hurricane Season: How to Navigate Your Insurance Claim,
                         Lawline CLE Webinar, September 21, 2021
                     •   Panelist, Like a Breach Over Troubled Waters: How to Navigate a Cyber
                         Incident, District of Columbia Bar CLE, August 30, 2021
                     •   Speaker, Riots and Ransoms and Recoupment – Oh My! Insurance for the
                         Emerging Risks Your Board Cares About, Florida RIMS Educational Conference,
                         July 27, 2021
                     •   Presenter, Windstorm Deductibles, Sublimits, and Exclusions: Oh My! A Guide
                         to Ensuring You Have Sufficient Coverage in Place Prior to Hurricane
                         Season, Hunton Andrews Kurth CLE, June 3, 2021
                     •   Moderator, Plan, Prepare, and Protect: Key Considerations for Drafting Your
                         Company’s Ransomware Response Plan, American Bar Association, March 18,
                         2021
                     •   Panelist, Claims Collaboration, Negotiation, and Sometimes, Litigation: A
                         Liability Claims Toolkit for Young (and Experienced) Lawyers, ABA Section of
                         Litigation 2021 Virtual Insurance Coverage Litigation Committee CLE Seminar,
                         March 5, 2021
                     •   Speaker, Beware of Ransomware: Cybercrime in the Time of the Pandemic,
                         February 3, 2021



                                                                                Hunton Andrews Kurth LLP | 20
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 22 of
                                      50
                     •   Presenter, Managing Cyber Risk Through Insurance, Lawline CLE webinar,
                         October 1, 2020
                     •   Panelist, Like a Breach Over Troubled Waters: How to Navigate a Cyber Incident,
                         District of Columbia Bar CLE, March 12, 2020
                     •   Moderator, Ensuring Insurance Coverage Success in Litigation: Tips and Best
                         Practices for Young (and Experienced) Lawyers, ABA Section of Litigation 2020
                         Insurance Coverage Litigation Committee CLE Seminar, Tucson, AZ, March 5,
                         2020
                     •   Presenter, Cybersecurity and Cyber Insurance: What You Must Know, January
                         30, 2020
                     •   Speaker, Cyber Insurance: A Year In Review: What Did We See in 2019 and What
                         Does That Tell Us About What to Expect in 2020? (Enquiron Webinar), January
                         23, 2020
                     •   Co-Presenter, Your Risks and Other People’s Insurance: Maximizing Recovery
                         Through Indemnity Agreements, Insurance Requirements, and Additional
                         Insured Status, Florida RIMS Educational Conference, August 2, 2019
                     •   Panelist, “Transferring the Risk: A Professional’s Checklist for Procurement of
                         the Cyber Liability Policy,” University of South Carolina School of Law’s 2019
                         Cybersecurity Legal Institute, Columbia, SC, April 4, 2019
                     •   Presenter, Cyber Threat Landscape: Cases, Trends, and Risk Management,
                         January 17, 2019
                     •   Presenter, “Cybersecurity: What You Must Know!,” Colorado Bar Association
                         CLE, Snowmass, CO, January 2, 2019
                     •   Panelist, “Cyber Insurance: A Primer,” Washington, DC, December 20, 2018
                     •   Panelist, “Directors and Officers Insurance: A Primer,” Washington, DC,
                         December 19, 2018
                     •   Speaker, “Insurance Implications of Hurricanes,” Florida Institute of CPAs
                         Common Interest Realty Conference, November 16, 2018
                     •   Speaker, Seminar: Improving Hurricane Preparedness, September 24, 2018
                     •   Panelist, “When Cats Attack–Insurance Coverage Lessons Learned from 2017’s
                         Catastrophic Hurricanes,” 43rd Annual Florida RIMS Educational Conference,
                         Naples, FL, June 21, 2018
                     •   Co-Presenter, “Stealth Liabilities Looming Online,” Los Angeles, CA, May 24,
                         2018
                     •   Panelist, “Protecting Your Board and C-Suite: Hot Topics in Directors and
                         Officers Insurance Coverage,” Lunch and Learn CLE, Miami, FL, May 8, 2018
                     •   Moderator, “Harvey, Irma, and Maria—Coverage and Litigation Issues
                         Presented by Catastrophic Hurricanes,” 2018 Insurance Coverage Litigation
                         Committee CLE Seminar, Tucson, AZ, March 1, 2018
                     •   Presenter, “Basic Insurance Law,” Florida Bar Basic Business Litigation Skills CLE,
                         February 23, 2018
                     •   Presenter, “Insurance Implications of Hurricanes—Lessons Learned and Tips for
                         the Future,” Florida Institute of CPAs—Valuation, Forensic Accounting and
                         Litigation Services Conference, January 11, 2018




                                                                                   Hunton Andrews Kurth LLP | 21
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 23 of
                                      50
                     •   Speaker, Insurance Coverage Concerns for In-House Counsel: Are You and Your
                         Officers Protected?, November 8, 2017
                     •   Speaker, Protecting Company Money from “Cyber” Theft Through Internal
                         Controls and Insurance, Internet & Privacy Law Committee, State Bar of
                         California Business Law Section, October 10, 2017
                     •   Moderator, Securing Coverage for Harvey, Irma, Maria and Other Weather-
                         Related Losses, October 3, 2017
                     •   Co-presenter, GMBHA Presents Weathering Hurricane Irma Losses: A Guide to
                         Insurance Recovery & Claim Preparation for Irma Insurance Claims, Greater
                         Miami & The Beaches Hotel Association Conference, September 26-27, 2017
                     •   Panelist, Apps, Autos and Automation: Emerging Risks in the Sharing Economy,
                         State Bar of California Section Convention, August 19, 2017
                     •   Presenter, Examining the Restatement of the Law Liability Insurance, Florida
                         RIMS Educational Conference 2017, July 28, 2017
                     •   Roundtable, “Is There Equity in Private Equity Insurance Coverage for Both the
                         Investment Companies and Their Portfolio Companies?,” 2017 ABA ICLC Annual
                         Seminar, Tucson, AZ, March 3, 2017
                     •   Panelist, “Getting Paid: Alternative Fee Structure & Ethical Issues” and
                         “Successfully Preparing for Trial,” 2017 Bench & Bar Conference—Dade County
                         Bar Association, Miami, FL, February 2017
                     •   Panelist, GMBHA Cyber Security Panel, Miami, FL, February 1, 2017
                     •   Co-presenter, “A Civil Litigator’s Guide to Insurance,” Colorado Bar Association,
                         Aspen, CO, January 4, 2017
                     •   Co-presenter, “Trial Techniques and Strategies for Insurer Bad Faith Cases,”
                         2016 National CLE Conference, Vail, CO, January 2016
                     •   Co-presenter, “Insurer Bad Faith,” 2015 National CLE Conference, Vail, CO,
                         January 2015
                     •   Co-presenter, “The Perfect Storm: Delay, Defenses, and Damages in
                         Catastrophe Property Claims,” 2014 ABA ICLC Annual Seminar, Tucson, AZ,
                         March 2014
                     •   Co-presenter, “Defeating Goliath: A Primer on Insurer Bad Faith,” 2014 National
                         CLE Conference, Vail, CO, January 2014
                     •   Co-presenter, “Mock Evidentiary Hearing: Compliance with Post-Loss
                         Conditions,” 2014 Windstorm Insurance Network Annual Conference: Orlando,
                         FL, January 2014
                     •   Moderator, “Insurance Bad Faith from Texas to South Carolina,” 2013
                         Windstorm Insurance Network Annual Conference, Orlando, FL, January 2013

                     Media Mentions
                     •   Quoted, Closing Cyber Coverage Gap Crucial For Middle Market Cos., Law360,
                         July 27, 2023
                     •   Quoted, Tabletop exercises, discussion bolster cyber preparedness: Experts,
                         Business Insurance, May 3, 2023




                                                                                  Hunton Andrews Kurth LLP | 22
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 24 of
                                      50
                     •   Quoted, T-Mobile Data Breach Win Paves Path for Cyber Insurance Disputes,
                         Bloomberg Law, December 12, 2022
                     •   Quoted, The Biggest Environmental Insurance Stories In 2022, Law360,
                         December 10, 2022
                     •   Quoted, Mondelez Deal With Zurich Adds Weight To NJ Court Decision, Law360,
                         November 18, 2022
                     •   Quoted, Federal government considers sharing costs for ‘catastrophic’ cyber
                         incidents, The Hill, October 9, 2022
                     •   Featured, ‘It’s Never Too Early’ to Start Building Your Brand: Andrea DeField
                         Shares Her Path to Partnership at Hunton Andrews Kurth, Daily Business
                         Review, September 7, 2022
                     •   Quoted, Changing cyber insurance guidance from Lloyd’s reflects a market in
                         turmoil, Cybersecurity Dive, August 29, 2022
                     •   Quoted, Lloyd’s Cyber Insurance Tweaks Stir Coverage Restriction Concern,
                         Bloomberg Law, August 26, 2022
                     •   Featured, How I Made Partner: ‘Every Day Is an Opportunity to Build Your
                         Brand,’ Says Andrea DeField of Hunton Andrews Kurth, Law.com, August 12,
                         2022
                     •   Featured, Rising Star, Hunton’s Andrea DeField, Law360, June 15, 2022
                     •   Quoted, Cyber Captives 101: Is Self-Insuring the Right Risk Mitigation Choice for
                         Your Business?, Risk & Insurance, June 1, 2022
                     •   Quoted, IT involvement in cyber renewals crucial: Panelists, Business Insurance,
                         April 13, 2022
                     •   Quoted, Cyber Risk Is Keeping Your CEO Up at Night. Here’s Why, Risk &
                         Insurance, April 11, 2022
                     •   Quoted, Merck War Exclusion Ruling Raises Alarm For Insurers, Law360
                         Authority, January 28, 2022
                     •   Quoted, Merck’s $1.4 Billion Insurance Win Splits Cyber From ‘Act of War’,
                         Bloomberg Law, January 19, 2022
                     •   Quoted, War Exclusion Doesn’t Bar Merck’s $1.4B Cyber Loss, Law360, January
                         14, 2022
                     •   Quoted, Insurer Lloyd’s slashes coverage on state-sponsored cyberattacks,
                         reflecting battered market, Cybersecurity Dive, December 3, 2021
                     •   Quoted, Ransomware Scourge Isn’t Scaring Away Cyber Insurers, Law360,
                         August 13, 2021
                     •   Quoted, On the Move, Florida Bar News, November 1, 2020
                     •   Q&A, On the Rise: Andrea DeField, Daily Business Review and Law.com,
                         September 28, 2020
                     •   Quoted, First Cybersecurity Legal Institute Reveals Best Practices to Avoid
                         Becoming a Victim, Cyber(In)security News, May 2019

                     Publications
                     •   Co-author, Reducing Risks from Cyber Incidents with Cyber and D&O Insurance,
                         The National Law Review, August 3, 2023




                                                                                  Hunton Andrews Kurth LLP | 23
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 25 of
                                      50
                     •   Co-author, Florida Enacts Sweeping Tort Reform Legislation, Raising Barriers to
                         Insurance Coverage Claims, Coverage Law Center, April 25, 2023
                     •   Co-author, Uber’s CISO conviction underscores the importance of directors and
                         officers insurance protection, SC Media Magazine, October 26, 2022
                     •   Co-author, Eleventh Circuit Rescinds Prior Restriction on Excess Judgments for
                         Bad Faith Claims, Daily Business Review, September 16, 2022
                     •   Co-author, Liability Claims 101: A New Insurance Lawyer’s Guide to Handling a
                         Liability Insurance Claim, American Bar Association, August 23, 2022
                     •   Co-author, Hurricane Claims: Key Tips to Minimize Losses and Maximize
                         Recovery, Risk Management, August 1, 2022
                     •   Co-author, Decision: Underwriting Discovery Is Not Categorically Prohibited in
                         Insurance Coverage Cases, Daily Business Review, February 9, 2022
                     •   Co-author, Examining Event Cancellation Coverage As COVID Lingers, Law360,
                         February 9, 2022
                     •   Co-author, Cyberattacks Lead to Increased Scrutiny: How Can Companies Stay
                         Ahead of the Curve?, Daily Business Review, January 17, 2022
                     •   Co-author, Insurance Tips For Mitigating DOJ Cyber Initiative Risks, Law360,
                         November 19, 2021
                     •   Co-author, How Cyber, D&O Insurance Can Mitigate Risk to C-Suite and Board
                         Following a Cyber Attack, Corporate Counsel, September 3, 2021
                     •   Co-author, Liability Claims 101: A New Insurance Lawyer’s Guide to Handling a
                         Liability Insurance Claim, American Bar Association, March 4, 2021
                     •   Co-author, OFAC Cyber Ransom Guidance Has Insurance Implications, Law360,
                         November 16, 2020
                     •   Co-author, Key Insurance Considerations in a Record Hurricane Season, Risk
                         Management, September 25, 2020
                     •   Co-author, Hurricane insurance claims: key causation and coverage issues,
                         WestLaw Insurance, September 22, 2020
                     •   Co-author, Riot-Related Damage, Income Losses Covered Under Most Business
                         Owners’ Policies, Daily Business Review, June 30, 2020
                     •   Co-author, A Young Lawyer’s Guide to Navigating Discovery in Coverage and
                         Bad Faith Disputes, ABA Section of Litigation, May 19, 2020
                     •   Co-author, Energy industry: Is Your Insurance Sufficient to Handle a Major Cyber
                         Event?, Electric Light & Power, September 11, 2019
                     •   Co-author, Delaware Court Weighs In on the CID Coverage Debate, July 30, 2019
                     •   Co-author, Lessons Learned from the Storms of 2017, ABA’s Insurance
                         Coverage, Vol. 28, Issue 3, October 31, 2018
                     •   Co-author, Guest Post: Court Requires Insurers to Advance Insureds’ Defense
                         Costs, The D&O Diary, February 15, 2018
                     •   Co-author, Your Liability Insurer May Be Obligated to Provide a Defense in the
                         Chapter 558 Process, Daily Business Review, January 18, 2018
                     •   Co-author, The Privilege of Cooperation: What Insurers and Insureds Need to
                         Know About Preserving the Privilege, FC&S Legal, October 5, 2017




                                                                                 Hunton Andrews Kurth LLP | 24
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 26 of
                                      50
                     •   Co-author, The First 60 Days Post-Irma Are Critical to Your Insurance Recovery,
                         Daily Business Review, September 12, 2017
                     •   Co-author, The Arrival of Hurricane–and College Football–Season Underscores
                         the Importance of Having Event-Cancellation Insurance in Place, September 8,
                         2017
                     •   Co-author, Harvey Reminds South Florida to Review Insurance Coverage Before
                         Irma, Daily Business Review, September 6, 2017
                     •   Co-author, Harvey Reminds South Florida to Review Insurance Coverage Before
                         Irma, The American Lawyer, September 6, 2017
                     •   Co-author, 3 issues with insurance for 3D printing, sharing economy, emerging
                         industries, PropertyCasualty360, August 23, 2017
                     •   Co-author, 3 Issues with Insurance for 3D Printing, Sharing Economy and Other
                         Emerging Industries, Legaltechnews, August 21, 2017
                     •   Co-author, Ensuring Adequate Coverage for 3D Printing, Sharing Economy and
                         Other Emerging Industries, August 18, 2017
                     •   Co-author, Examining the Restatement of the Law, Liability Insurance, Risk
                         Management Magazine, July 10, 2017
                     •   Co-author, Fear of the Unknown Cause of Contamination, Food Safety
                         Magazine, July 6, 2017
                     •   Co-author, Ensuring Your Business Has Adequate Insurance Coverage Before A
                         Hurricane Strikes, June 2017
                     •   Co-author, Ensuring Equity in Private Equity Insurance Coverage: The Top 5
                         Coverage Issues Private Equity Investors Should Consider, Bloomberg BNA
                         Mergers & Acquisitions Law Report, May 29, 2017
                     •   Co-author, Ensuring Equity in Private Equity Insurance Coverage: The Top 5
                         Coverage Issues Private Equity Investors Should Consider, Bloomberg BNA
                         Securities Regulation & Law Report, May 22, 2017
                     •   Co-author, A Cyber Coverage Warning for Hospitality Insureds, April 2017
                     •   Co-author, The Disparagement Dilemma: Insurance Coverage for the Defense
                         and Indemnity of Product Disparagement Claims, Corporate Counsel, March 27,
                         2017
                     •   Author, Protecting Business Income When Disaster Strikes, December 2016
                     •   Co-author, With Zika in South Florida, Questions Remain About How Insurance
                         Can Help, Daily Business Review, December 15, 2016
                     •   Co-author, The Cyber Threat: Is Your Business Adequately Covered for a Cyber
                         Event?, December 2016
                     •   Co-author, After Matthew, The Insurance Storm Begins, Daily Business Review,
                         October 11, 2016
                     •   Co-author, Florida Supreme Court: When It Comes To UM Damages Verdicts
                         And Bad Faith, “What Is Good For The Goose Is Good For The Gander,” FC&S
                         Legal, April 17, 2016
                     •   Author, Florida Court Finds Fact Issues as to Insurer’s Liability for Excess
                         Judgment, American Bar Association Section of Litigation: Insurance Coverage
                         Case Notes, June 12, 2013




                                                                                 Hunton Andrews Kurth LLP | 25
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 27 of
                                      50
                     •   Co-author, Damages Available for Insurance Bad Faith Claims in South Carolina
                         and North Carolina, North Carolina Bar Association Foundation CLE, April 11,
                         2013
                     •   Co-author, E-Discovery’s Threat to Civil Litigation, 63 Rutgers L. Rev. 521, Winter
                         2011

                     Blog Posts
                     •   Co-author, Record-Breaking Temperatures, Record-Breaking Claims: The
                         Importance of Risk Mitigation to Reduce Severe Weather Costs, Hunton
                         Insurance Recovery Blog, August 28, 2023
                     •   Co-author, Maui Losses Put Wildfire Insurance Risks in Spotlight, Hunton
                         Insurance Recovery Blog, August 22, 2023
                     •   Co-author, Reducing Risks from Cyber Incidents with Cyber and D&O Insurance,
                         Hunton Insurance Recovery Blog, August 3, 2023
                     •   Co-author, SEC Publishes New Rules Requiring Disclosure of Cyber Incidents,
                         Hunton Insurance Recovery Blog, July 31, 2023
                     •   Co-author, Supreme Court of New Jersey to Hear Merck Cyberattack Case,
                         Hunton Insurance Recovery Blog, July 28, 2023
                     •   Co-author, Drugmaker Wins (Again) in False Claims Act Coverage Dispute Over
                         DOJ Settlement, Hunton Insurance Recovery Blog, May 19, 2023
                     •   Co-author, Merck Wins Again in Cyber Coverage Battle, Hunton Insurance
                         Recovery Blog, May 17, 2023
                     •   Co-author, Florida Enacts Sweeping Tort Reform Legislation, Raising Barriers to
                         Insurance Coverage Claims, Hunton Insurance Recovery Blog, April 17, 2023
                     •   Co-author, Kardashian Coverage Conundrums, Hunton Insurance Recovery Blog,
                         October 14, 2022
                     •   Author, Hurricane Warning: Florida and Southeastern US Companies–It is Time
                         to Activate Your Hurricane Preparedness Plan and Review Key Insurance
                         Deadlines, Hunton Insurance Recovery Blog, September 27, 2022
                     •   Co-author, Is Your Business Ready For A Hurricane?, Hunton Insurance Recovery
                         Blog, August 24, 2022
                     •   Co-author, Judgment Means Judgment: The Eleventh Circuit Reestablishes that
                         a Consensual Excess Settlement Can be Used to Satisfy Causation Prong of Bad
                         Faith, Hunton Insurance Recovery Blog, April 14, 2022
                     •   Author, Hunton Andrews Kurth Promotes Insurance Recovery Lawyer Geoffrey
                         Fehling to Partner, Hunton Insurance Recovery Blog, April 4, 2022
                     •   Co-author, Florida Appellate Courts Holds Underwriting Manuals are
                         Discoverable in Breach of Contract Case, Hunton Insurance Recovery Blog,
                         February 2, 2022
                     •   Co-author, From Adele to the NFL, Large-Scale Event Disruptions Show the Need
                         for Policyholders to Have a Strategy to Recover in the Event of a Loss, Hunton
                         Insurance Recovery Blog, January 28, 2022
                     •   Co-author, Hunton Andrews Kurth Attorneys Weigh In On How To Minimize
                         Cyberattack Risks With Insurance, Hunton Insurance Recovery Blog, January 19,
                         2022



                                                                                   Hunton Andrews Kurth LLP | 26
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 28 of
                                      50
                     •   Co-author, As Ransomware Proliferates, Insurance Can Help, Hunton Insurance
                         Recovery Blog, January 5, 2022
                     •   Co-author, Lorelie S. Masters Nominated for Best in Insurance & Reinsurance
                         for the Women in Business Law Awards 2021, Hunton Insurance Recovery Blog,
                         October 12, 2021
                     •   Co-author, Before and After the Storm: Know Your Insurance Rights, Coverages
                         and Obligations, Hunton Insurance Recovery Blog, September 10, 2021
                     •   Co-author, Hunton Andrews Kurth Insurance Attorney, Latosha M. Ellis,
                         Honored by Business Insurance Magazine, Hunton Insurance Recovery Blog,
                         April 29, 2021
                     •   Co-author, New York Regulators Call on Insurers to Strengthen the Cyber
                         Underwriting Process, Hunton Insurance Recovery Blog, February 23, 2021
                     •   Co-author, Engineering Coverage for Social Engineering Schemes in Light of New
                         Jersey Federal Court Opinion Finding No Errors and Omissions Coverage for
                         Email Scam, Hunton Insurance Recovery Blog, November 30, 2020
                     •   Co-author, COVID-19 Event-Driven Litigation Continues to Sail, Hunton
                         Insurance Recovery Blog, November 18, 2020
                     •   Co-author, While OFAC Cautions Cyber Insurers About Facilitating Ransomware
                         Payments, Policyholders Should Ensure They’re Covered, Hunton Insurance
                         Recovery Blog, November 3, 2020
                     •   Co-author, Hunton Insurance Coverage Group Attorney, Latosha M. Ellis, Listed
                         in 2020 Class of “Up & Coming Lawyers” by Virginia Lawyers Weekly, Hunton
                         Insurance Recovery Blog, September 14, 2020
                     •   Co-author, As Laura Wreaks Havoc Along The Gulf, Is Your Insurance Ready to
                         Respond?, Hunton Insurance Recovery Blog, August 26, 2020
                     •   Co-author, It’s a COVID-19 Pandemic; It’s Everywhere–New Cal. Bill to Make
                         Insurers Prove Otherwise, Hunton Insurance Recovery Blog, July 14, 2020
                     •   Co-author, Riot-Related Damage and Income Losses are Covered under Most
                         Business Owners’ Policies, Hunton Insurance Recovery Blog, June 16, 2020
                     •   Co-author, Hunton Insurance Lawyers Discuss Cyber Risks to the Energy Grid in
                         Electric Light & Power, The Nickel Report — Energy and Environmental Law,
                         September 27, 2019
                     •   Co-author, Hunton Insurance Lawyers Discuss Cyber Risks to the Energy Grid in
                         Electric Light & Power, Hunton Insurance Recovery Blog, September 19, 2019
                     •   Co-author, Dorian’s Wrath: How Event Cancellation Insurance Helps Businesses
                         Recoup Losses from Severe Weather, Hunton Insurance Recovery Blog,
                         September 16, 2019
                     •   Co-author, It’s Not Rocket Science: Ninth Circuit Rejects Insurer’s Attempt to
                         Invoke War Exclusion for Hamas Rocket Attack, Hunton Insurance Recovery
                         Blog, July 17, 2019
                     •   Co-author, Florida’s Citizens Property Insurance May Be Immune From Bad
                         Faith, But Is Not Immune From Consequential Damages, Hunton Insurance
                         Recovery Blog, June 7, 2019
                     •   Co-author, As Florence Eyes East Coast, Are You Looking At Your Insurance?,
                         Hunton Insurance Recovery Blog, September 11, 2018



                                                                                  Hunton Andrews Kurth LLP | 27
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 29 of
                                      50
                     •   Co-author, New York Cybersecurity Deadline Highlights Importance of a
                         Comprehensive Insurance Coverage for Cyber Risks, Hunton Insurance Recovery
                         Blog, February 15, 2018
                     •   Author, For Florida Construction Industry Insureds, a Chapter 558 Notice May
                         Trigger CGL Insurer’s Duty to Defend, Hunton Insurance Recovery Blog,
                         December 21, 2017
                     •   Author, Hunton Practice Group Head, Walter Andrews, Discusses Implications of
                         Florida Supreme Court’s Recent Opinion on Coverage for Chapter 558 Notices,
                         Hunton Insurance Recovery Blog, December 21, 2017
                     •   Author, Hunton Insurance Lawyers Advise the Oil and Gas Industry on How
                         Insurance Mitigates Cyber-Related Risk, Hunton Insurance Recovery Blog,
                         December 19, 2017
                     •   Author, Florida Office Of Insurance Regulation Enters Emergency Order
                         Regarding Hurricane Irma Claims, Hunton Insurance Recovery Blog, September
                         18, 2017
                     •   Co-author, Update: College Football Games Cancelled Due to Hurricanes Re-
                         Emphasize Importance of Event-Cancellation Insurance, Hunton Insurance
                         Recovery Blog, September 12, 2017
                     •   Co-author, The First Seven Days: Resources For Policyholders In The Aftermath
                         Of Hurricane Harvey, Hunton Insurance Recovery Blog, September 1, 2017
                     •   Co-author, Preparing For Hurricane Harvey: Insurance May Help Weather The
                         Storm, Hunton Insurance Recovery Blog, August 27, 2017
                     •   Author, Hunton Insurance Lawyers Analyze How Second Circuit’s Recent
                         Opinion Regarding Employer’s Liability Exclusion Impacts Hospitality Industry
                         Insureds, Hunton Insurance Recovery Blog, August 23, 2017
                     •   Co-author, The Restatement of the Law, Liability Insurance and Impact on Retail
                         Insureds, Hunton Retail Law Resource Blog, August 10, 2017
                     •   Author, Examining the Restatement of the Law, Liability Insurance, Hunton
                         Insurance Recovery Blog, July 17, 2017
                     •   Author, Fear of the Unknown [Cause of Contamination]: Whether an Unknown
                         Cause of Loss Constitutes an “Occurrence”, Hunton Insurance Recovery Blog,
                         July 11, 2017
                     •   Author, New York Trial Court’s TKO Of Bear Stearns’ Insurers After Lengthy
                         Coverage War, Hunton Insurance Recovery Blog, May 1, 2017
                     •   Author, Insurance Coverage for Frozen Food Recall Tops Off Hunton’s “Recall
                         Roundup” for February, Hunton Insurance Recovery Blog, March 10, 2017
                     •   Co-author, Keeping Your Business Afloat After the Flood, Hunton Insurance
                         Recovery Blog, February 23, 2017
                     •   Author, Hunton Lawyers Discuss 2016’s Key Legal Developments In The Retail
                         Industry, Hunton Insurance Recovery Blog, January 25, 2017
                     •   Author, Contractor Gets Boost From Amici Filings In Florida Suit Over Duty To
                         Defend, Hunton Insurance Recovery Blog, October 27, 2016
                     •   Author, A Defect in CGL Policy Language: Eleventh Circuit Certifies Whether a
                         Florida Ch. 558 Notice and Repair Process Is a “Suit” that Triggers a Defense,
                         Hunton Insurance Recovery Blog, August 15, 2016



                                                                                  Hunton Andrews Kurth LLP | 28
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 30 of
                                      50
                     •   Author, State Farm’s Dirty Little Secret Part 2: Florida Circuit Court Releases
                         Written Opinion on Residential Lines Reports Constituting Trade Secrets,
                         Hunton Insurance Recovery Blog, May 19, 2016
                     •   Author, State Farm’s Dirty Little Secret: Residential Lines Reports Constitute
                         “Trade Secrets”, Hunton Insurance Recovery Blog, April 8, 2016
                     •   Author, Florida Supreme Court: When it Comes to UM Damages Verdicts and
                         Bad Faith, “What is Good for the Goose is Good for the Gander”, Hunton
                         Insurance Recovery Blog, February 29, 2016
                     •   Author, Under Separate Cover: Florida’s Third DCA Finds Coverage for
                         Additional Insureds Under Policy’s Separation of Insureds Provision, Hunton
                         Insurance Recovery Blog, February 19, 2016
                     •   Author, No Consent? No Problem: Florida Appellate Court Upholds Post-Loss
                         Assignment of Policy Benefits, Hunton Insurance Recovery Blog, February 9,
                         2016
                     •   Author, New Intermediate Approach Advanced by Restatement Reporters on
                         Duty to Defend, Hunton Insurance Recovery Blog, December 30, 2015
                     •   Author, New Restatement May Alter the Consequences for Breaching the Duty
                         to Defend, Hunton Insurance Recovery Blog, December 15, 2015




                                                                                    Hunton Andrews Kurth LLP | 29
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 31 of
Biographies                           50
                                                            Jae Lynn Huckaba
                                                            Associate

                                                            jhuckaba@HuntonAK.com
                                                            Miami
                                                            +1 305 810 2515
                                                            Languages: Spanish




SERVICES
                              Jae Lynn focuses her practice on advising policyholders in
                              cross-border insurance coverage disputes and
Practices
                              representations and warranties matters.
Insurance Coverage
Litigation                    In addition to providing policyholders with advice in complex insurance disputes,
                              Jae Lynn also counsels clients on insurance coverage for cybersecurity and
Reinsurance
                              ransomware attacks, duty to defend and bad faith claims, and COVID-19 insurance
                              litigation.
EDUCATION                     Jae Lynn also represents pro bono clients in immigration and veterans benefits
                              matters. She advises asylum applicants in individual hearings and asylees seeking
MA, Latin America Studies,
University of Miami College
                              adjustment of status. Her veterans benefits practice focuses on appeals of
of Arts and Sciences, 2022    Servicemembers’ Group Life Insurance Traumatic Injury Protection (TSGLI) claims.

JD, University of Miami       During law school, Jae Lynn served as a judicial intern for the Honorable Robert T.
School of Law, magna cum      Watson of the Eleventh Judicial Circuit of Florida and as a legal intern for the
laude, Student Notes and      University of Miami School of Law Immigration Clinic.
Comments Editor,
University of Miami Law       Relevant Experience
Review, 2021                  •   Advised clients in cross-border dispute involving insurance coverage for
BA, English and Spanish,          airplanes detained outside of the United States as a result of war-time laws.
University of the Ozarks,     •   Obtained summary judgment for policyholder in coverage action to seek
summa cum laude, 2018
                                  reimbursement of defense costs incurred after insurer wrongfully denied its
                                  duty to defend the policyholder against a class action seeking to enjoin and
BAR ADMISSIONS                    obtain damages for the policyholder’s long-standing cane burning practice.
                              •   Advises private equity companies on the sufficiency of coverage for entities
Florida                           involved in mergers and acquisitions, including due diligence for
                                  representations and warranties insurers.
                              •   Represents clients in matters involving coverage for errors and omission claims,
                                  including litigation involving realty companies and brokerage firms.
                              •   Counsels clients in matters seeking reimbursement for breach response costs
                                  resulting from ransomware attacks and data breaches.
                              •   Represents financial institutions in recovering amounts for settlement of claims
                                  alleging erroneous redemption of subordinated notes.




                                                                                            Hunton Andrews Kurth LLP | 1
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 32 of
                                      50
                      Memberships
                     •   Board Member, Miami-Dade Bar Young Lawyers Section
                     •   LGBTQ+ Bar

                     Publications
                     •   Co-author, Ensuring Insurability of Management Liability Claims, The Banking
                         Law Journal, September 2023
                     •   Co-author, Mass. Dispute Highlights R&W Insurance Considerations, Law360,
                         August 17, 2023
                     •   Author, Florida’s Market-Based Property Reforms and Revocation of One-Way
                         Attorney Fees: Implications for Florida Policyholders, University of Miami Law
                         Review, June 5, 2023
                     •   Co-author, Florida Enacts Sweeping Tort Reform Legislation, Raising Barriers to
                         Insurance Coverage Claims, Coverage Law Center, April 25, 2023

                     Blog Posts
                     •   Co-author, The Heated Debate Over the California Department of Insurance’s
                         Heat Community Policy and Parametric Underwriting, Hunton Insurance
                         Recovery Blog, July 28, 2023
                     •   Co-author, Florida Enacts Sweeping Tort Reform Legislation, Raising Barriers to
                         Insurance Coverage Claims, Hunton Insurance Recovery Blog, April 17, 2023
                     •   Co-author, Ohio Supreme Court Launches COVID-19 Holdings into Cyberspace;
                         Denies Coverage for Physical Loss or Damage to Computer Software, Hunton
                         Insurance Recovery Blog, January 4, 2023
                     •   Co-author, Policy Renewals: Has Your Insurer Been Naughty or Nice?, Hunton
                         Insurance Recovery Blog, December 8, 2022
                     •   Co-author, Kardashian Coverage Conundrums, Hunton Insurance Recovery Blog,
                         October 14, 2022




                                                                                  Hunton Andrews Kurth LLP | 2
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 33 of
                                      50
                                                             Adriana A. Perez
                                                             Associate

                                                             pereza@HuntonAK.com
                                                             Miami
                                                             +1 305 810 2545
                                                             Languages: Spanish




SERVICES
                             Adriana’s practice focuses on advising policyholders in
                             insurance coverage and reinsurance matters, and other
Practices
                             business litigation.
Insurance Coverage
Litigation                   Adriana has represented clients in federal and state courts in insurance coverage,
                             reinsurance, and other complex insurance litigation matters. Additionally, Adriana
                             counsels policyholders regarding insurance claim evaluation and strategy, cyber
EDUCATION
                             risks, and recovery of insurance proceeds under third parties’ insurance policies.
JD, Vanderbilt Law School,
Dean's Scholar, 2017
                             Relevant Experience
                             •   Represented cedent in eight-day jury trial involving facultative reinsurance and
BA, Political Science,
University of Florida, cum
                                 disputes over allocation, primary policy limits, and umbrella policy coverage for
laude, 2014                      defense costs.
                             •   Advised clients on COVID-19 insurance claims for business interruption,
                                 contingent business income (CBI), extra expense, civil authority, ingress/egress,
BAR ADMISSIONS
                                 D&O, and general liability coverages.
Florida                      •   Represents clients in connection with disputes involving general liability, errors
                                 and omissions/professional liability, and directors’ and officers’ liability policies.
                             •   Represents clients in obtaining coverage for various cyber incidents, including
                                 ransomware claims.
                             •   Represents clients in multi-million dollar reinsurance disputes in litigation
                                 involving follow the fortunes and follow the settlement doctrines and allocation
                                 disputes.
                             •   Counsels clients in reinsurance recovery efforts under facultative and treaty
                                 business.
                             •   Represents clients in matters involving coverage for professional liability claims,
                                 including in litigation involving broker negligence.
                             •   Advises clients in connection with bad faith and extra-contractual claims related
                                 to insurance and reinsurance claims.
                             •   Represents clients in various business matters, including negligent
                                 misrepresentations claims and contractual disputes.




                                                                                              Hunton Andrews Kurth LLP | 32
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 34 of
                                      50
                     Memberships
                     •   Member, American Bar Association
                     •   Member, Cuban American Bar Association
                     •   Member, National Association of Women Lawyers

                     Clerkships
                     •   US Attorney’s Office, Middle District of Tennessee

                     Awards & Recognition
                     •   Named to the Rising List, National Association of Women Lawyers, 2023

                     Events
                     •   Speaker, The New Risk Professional Handbook: Coverage Gaps and Other Traps
                         to Look Out for in Your First Renewal, RIMS 2022 RISKWORLD Annual
                         Conference, San Francisco, CA, April 11, 2022

                     Publications
                     •   Co-author, Navigating High Court's Options In Insurer Choice Of Law, Law360,
                         April 4, 2023
                     •   Co-author, Risk Management in the Metaverse, Insurance Journal, February 6,
                         2023
                     •   Co-author, Insurance Coverage for Digital Assets: Mitigating Losses in
                         Cryptocurrency and Non-Fungible Token Markets, Journal of Emerging Issues in
                         Litigation, Fall 2022
                     •   Co-author, Decision: Underwriting Discovery Is Not Categorically Prohibited in
                         Insurance Coverage Cases, Daily Business Review, February 9, 2022
                     •   Co-author, Representation and Warranty Insurance and the Collateral Source
                         Rule, Insurance Coverage Law Center, November 2, 2021
                     •   2020 Retail Industry Year in Review, February 2021
                     •   Co-author, A Young Lawyer’s Guide to Navigating Discovery in Coverage and
                         Bad Faith Disputes, ABA Section of Litigation, May 19, 2020
                     •   2019 Retail Industry Year in Review, January 2020
                     •   Co-author, When communications with public relations firms are privileged,
                         Westlaw Journal, September 26, 2019

                     Blog Posts
                     •   Co-author, Insurer Can’t Dismiss Church’s Claim for Declaratory Relief, Hunton
                         Insurance Recovery Blog, August 23, 2023
                     •   Co-author, Supreme Court of New Jersey to Hear Merck Cyberattack Case,
                         Hunton Insurance Recovery Blog, July 28, 2023
                     •   Co-author, Merck Wins Again in Cyber Coverage Battle, Hunton Insurance
                         Recovery Blog, May 17, 2023
                     •   Co-author, Supreme Court Takes on Insurance Dispute, Hunton Insurance
                         Recovery Blog, March 13, 2023




                                                                                 Hunton Andrews Kurth LLP | 33
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 35 of
                                      50
                     •   Co-author, Digital Asset Insurance Coverage Series, Part 7: Insurance for NFTs,
                         Hunton Insurance Recovery Blog, October 25, 2022
                     •   Co-author, Digital Asset Insurance Coverage Series, Part 6: Brokers And
                         Cryptocurrency Insurance, Hunton Insurance Recovery Blog, October 18, 2022
                     •   Co-author, Digital Asset Insurance Coverage Series, Part 5: How Companies And
                         Consumers With Cryptocurrency Risk Approach Insurance, Hunton Insurance
                         Recovery Blog, October 11, 2022
                     •   Co-author, Digital Asset Insurance Coverage Series, Part 4: History Of Insurance
                         Coverage Specifically Designed For Cryptocurrency, Hunton Insurance Recovery
                         Blog, October 4, 2022
                     •   Co-author, Digital Asset Insurance Coverage Series, Part 3: How Traditional
                         Insurance Products Can Help Protect Policyholders From Loss And Liability
                         Related To Digital Assets, Hunton Insurance Recovery Blog, September 27, 2022
                     •   Co-author, Digital Asset Insurance Coverage Series, Part 2: Who Can Incur
                         Losses Associated With Digital Assets And What Are The Potential Risks Of Loss
                         And Liability Related To Digital Assets?, Hunton Insurance Recovery Blog,
                         September 20, 2022
                     •   Co-author, Hunton Insurance Group Advises Policyholders on Issues That Arise
                         With Insurance Coverage for Digital Assets, Specifically Cryptocurrency and NFTs
                         — A Seven-Part Series , Hunton Insurance Recovery Blog, September 13, 2022
                     •   Co-author, COVID-19 Losses and Number of Occurrences, Hunton Insurance
                         Recovery Blog, July 18, 2022
                     •   Co-author, Florida Appellate Courts Holds Underwriting Manuals are
                         Discoverable in Breach of Contract Case, Hunton Insurance Recovery Blog,
                         February 2, 2022
                     •   Co-author, Policyholder Prevails (Again) in Delaware D&O Retention Dispute,
                         Hunton Insurance Recovery Blog, December 10, 2021
                     •   Co-author, Lorelie S. Masters Nominated for Best in Insurance & Reinsurance
                         for the Women in Business Law Awards 2021, Hunton Insurance Recovery Blog,
                         October 12, 2021
                     •   Co-author, Delaware Court Upholds Policyholder’s Choice of Forum, Denies
                         Insurers’ “First-Filed” Argument Following Race to the Courthouse, Hunton
                         Insurance Recovery Blog, August 24, 2021
                     •   Co-author, First Circuit Rules Excess Insurer Must Provide Coverage for Fuel
                         Spill, Hunton Insurance Recovery Blog, January 7, 2021
                     •   Co-author, Maryland Court Finds Coverage For Lost Data And Slow Computers
                         After Ransomware Attack, Hunton Insurance Recovery Blog, January 27, 2020
                     •   Co-author, Insurer on the Hook for Loss Resulting From Phishing Scheme,
                         Hunton Insurance Recovery Blog, December 12, 2019
                     •   Co-author, Vendor Service Agreement Extends Coverage to Live Nation for
                         Event Liabilities, Hunton Insurance Recovery Blog, November 15, 2019
                     •   Co-author, Insurance Win for Wage and Hour Defense Highlights Need to
                         Scrutinize EPLI Coverage Denials, Hunton Employment & Labor Perspectives,
                         September 25, 2019




                                                                                  Hunton Andrews Kurth LLP | 34
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 36 of
                                      50
                     •   Co-author, Wage and Hour Exclusion Must Be Construed Narrowly, Hunton
                         Insurance Recovery Blog, September 6, 2019
                     •   Co-author, Bad Faith Insurance Quote Defeats Summary Judgment, Hunton
                         Insurance Recovery Blog, August 16, 2019
                     •   Co-author, Agreement By Parent Company Does Not Extinguish Rights Of
                         Former Subsidiary, Hunton Insurance Recovery Blog, July 18, 2019
                     •   Co-author, Claims for Negligence? Duty to Defend Triggered, Hunton Insurance
                         Recovery Blog, June 19, 2019




                                                                               Hunton Andrews Kurth LLP | 35
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 37 of
                                      50
Radoslawa Boczkaj-Gonzalez
Senior Paralegal
Not an attorney

rboczkaj-gonzalez@hunton.com
Washington, DC
+1 202 460 2071


EDUCATION

BA, International Relations,
Syracuse University, cum
laude, 1996
MA, International Affairs,
American University, 2004




                                                                Hunton Andrews Kurth LLP | 36
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 38 of
                                      50
Vivian Chapunoff
Senior Paralegal
Not an attorney

vchapunoff@HuntonAK.com
Miami
305.536.2753
Languages: Spanish




                            Vivian’s practice focuses on insurance and general and complex civil litigation.
SERVICES

Practices                   Relevant Experience
Insurance
                            •   Manage process of cases from inception through close, including administration
                                of discovery and ESI; hearing, deposition, and trial preparation.

EDUCATION

BS, Florida International
University, 2000




                                                                                         Hunton Andrews Kurth LLP | 37
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 39 of
                                      50
                                                              Kelly L. Faglioni
                                                              Partner

                                                              kfaglioni@HuntonAK.com
                                                              Richmond
                                                              +1 804 788 7334




SERVICES
                                Kelly practices as a commercial and regulatory litigator on
                                products liability and post M&A disputes and issues and
Industries
                                serves as one of the firm’s Deputy General Counsel focusing
Retail
Consumer Products
                                on law firm ethics, conflicts, and risk management issues.
Practices                       Kelly’s litigation experience spans both commercial and regulatory litigation before
Appeals                         state and federal trial and appellate courts, regulatory agencies, and alternative
                                dispute resolution forums. A significant amount of her litigation practice has
Energy Litigation               focused on product issues that have included compliance, recall, investigations,
Mergers and Acquisitions        retail sale, warranty, and products liability. She also has experience litigating
Litigation                      professional malpractice, business torts, and post-M&A, contract, corporate
Litigation                      governance, and partnership disputes. Her regulatory litigation practice has
                                involved the nuclear and telecommunications industries. Kelly clerked for the Hon.
Crisis Management               A. Christian Compton, Justice of the Supreme Court of Virginia in 1992-93.
Retail and Consumer             As a Deputy General Counsel for the firm, Kelly has substantial experience with law
Products Litigation
                                firm ethics, conflicts, compliance, and risk management, including defense of
                                malpractice and third party claims. She is involved in training and formulating firm
EDUCATION                       policies and procedures aimed at addressing a variety of risks, including risk
                                associated with conflict issues and anti-money laundering/counter-terrorist (AML)
JD, Washington and Lee          and Foreign Agent Registration Act (FARA) requirements. As an outgrowth of this
University School of Law,       experience, Kelly has become involved in representing other law firms, lawyers, or
summa cum laude, Order          corporate law departments in ethics and malpractice issues. She regularly advises
of the Coif; Editor in Chief,   on conflicts and other ethics issues and compliance with professional rules and
Law Review, University
                                guides the firm’s Business Intake and Conflicts section.
Service Award, 1992
BA, English and Political       Relevant Experience
Science (minor in
Education), Bucknell
                                Products Experience
University, cum laude, Phi      •   Managed and consulted on recall or potential recall issues, including interaction
Beta Kappa, Omicron Delta           with the responsible agency, such as CPSC, FDA, FTC, ATF, or state attorneys
Kappa, 1989                         general.
                                •   Consulted on numerous product and regulatory compliance and risk issues for
BAR ADMISSIONS                      consumer products manufacturers and suppliers.

Virginia




                                                                                             Hunton Andrews Kurth LLP | 38
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 40 of
                                      50
                     •   Consulted on or drafted and revised language related to warranty,
                         indemnification, damages, and dispute resolution issues.
                     •   Conducted orientation and training on product-related compliance and risk
                         issues.
                     •   Defended gas utility in multi-plaintiff personal injury actions arising from carbon
                         monoxide exposure.
                     •   Consulted on response to personal injury claims, including investigation steps,
                         litigation hold, and insurance notification issues.
                     •   Defended products liability claims in state and federal courts.
                     •   Prevailed on summary judgment using sophisticated user defense in toxic
                         tort/products liability action; upheld on appeal to Fourth Circuit.
                     •   Consulted on sweepstakes, with focus on regulatory compliance, drafting of
                         liability release, and anticipation and prevention of claims.
                     Law firm and corporate law department ethics, conflicts, and risk management
                     •   Consulted with private equity firm to structure engagements and deal terms to
                         address issues related to conflicts, confidentiality, file ownership, and privilege.
                     •   Assisted in preparing responses to investigations arising from bar complaints.
                     •   Advised on agreements for legal services from corporate law department to
                         company affiliates.
                     •   Advised, drafted, and assisted in compliance with law firm policies to address
                         ethics, conflicts, and other law firm risk issues.
                     •   Consulted on conflict and disqualification issues.
                     •   Prepared and conducted training on ethics and risk issues for law firms and
                         corporate law departments.
                     •   Defended third-party (non-client) claims against law firm client (tortious
                         interference with contract, conspiracy, aiding and abetting).
                     •   Advised on ethics and partnership issues related to lateral partner moves.
                     •   Advised on ethics associated with contingency fee agreements.
                     •   Obtained dismissal of malpractice claim against attorney and law firm in Virginia
                         Circuit Court.
                     •   Represented former in-house counsel of company under government fraud
                         investigation.
                     Post-deal related and other regulatory and commercial disputes
                     •   Arbitrated post-deal indemnification disputes.
                     •   Prevailed on summary judgment using statute of limitations defense in
                         commercial securities fraud action.
                     •   Mediated and settled various groundwater contamination cases involving both
                         property damage and personal injury issues.
                     •   Prevailed in jury trial on negligent hiring/respondent superior claim.
                     •   Conducted internal corporate investigations for both public and non-profit
                         companies.




                                                                                     Hunton Andrews Kurth LLP | 39
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 41 of
                                      50
                     •   Litigated and consulted on various wholesale and retail telecommunications
                         disputes involving both wireless and wireline carriers.
                     •   Litigated numerous interconnection agreements between telecommunications
                         companies before the Federal Communications Commission and various state
                         regulatory commissions, including appeal to federal district court.
                     •   Litigated implementation of Telecommunications Act of 1996 before various
                         state commissions on behalf of local telephone service provider, focusing on
                         universal service issues.
                     •   Prepared appeal of Virginia state administrative agency decision to circuit court
                         leading to negotiated resolution of dispute.
                     •   Obtained partial demurrer in corporate governance dispute leading to
                         settlement of remaining minority shareholder claims for rescission.
                     •   Mediated and settled purchase price adjustment dispute arising from $300+
                         million stock sale agreement.
                     •   Negotiated resolution of Virginia Securities Act claims with Virginia State
                         Corporation Commission.
                     •   Defended private equity firm in dispute with withdrawing partner under Virginia
                         Uniform Partnership Act.
                     •   Represented federal agency pursuing construction license for nuclear waste
                         repository, including management of multi-million document production on
                         searchable public website.
                     •   Represented clients in partnership dissolution and winding up.

                     Memberships
                     •   American Bar Association, 2008-Present
                     •   Member, CLE Committee for Center of Professional Responsibility for the ABA,
                         2011–2012
                     •   Fellow, National Institute for Teaching Ethics and Professionalism, November
                         2011
                     •   Adjunct Professor, Washington and Lee School of Law (Third year Practicum:
                         The Full Life of an M&A Transaction, Fall 2010–Fall 2017)
                     •   Lecturer, Professional Responsibility, University of Virginia (Spring 2020, 2021,
                         2022)

                     Clerkships
                     •   Supreme Court of Virginia

                     Events
                     •   Presenter, The (d)Evolution of Ethics and Apocalyptic Visions, February 28, 2023
                     •   Presenter, The (d)Evolution of Ethics and Apocalyptic Visions, October 27, 2022
                     •   Presenter, “Ethics Unmasked”, October 26, 2021
                     •   Presenter, “Ethics 20/20 Hindsight”, November 19, 2020
                     •   Presenter, Ethics “Picks and Pans”, October 29, 2019




                                                                                   Hunton Andrews Kurth LLP | 40
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 42 of
                                      50
                     •   Speaker, Superhuman Ethics: The Ethics of Industry and Issue Lawyering,
                         October 30, 2018
                     •   Presenter, Principles and Guidelines in Providing Legal Services to Corporate
                         Family, Virginia Bar Association Summer Meeting, July 21, 2017
                     •   Presenter, The “Jason Bourne” of Ethics Issues: “Who Is My Client?,” Richmond
                         Bar Association, Business Law Section, March 15, 2017
                     •   Are You More Ethical Than A 4th Grader?, October 18, 2016
                     •   Ethics Jeopardy CLE Program, October 28, 2015
                     •   Presenter, Moovin’ and Groovin’: Ethical Issues Associated with Lawyer and
                         Client Moves, October 16, 2014
                     •   Panel member/speaker, “Building a Successful Corporate Ethics and Risk
                         Management Program,” ABA Webinar, June 24, 2014
                     •   Speaker and Author, CLE Presentation to ExxonMobil, “Hiding in Plain View:
                         How to Avoid Being Scalded by Standard Boilerplate”, June 10, 2014 (Fairfax)
                         and June 19, 2014 (Houston)
                     •   Speaker, “Legal Ethics for Litigators,” Hunton & Williams, February 29, 2014 and
                         December 18, 2013
                     •   Speaker and Author, “Monster Ethics,” WMACCA Richmond, October 23, 2013
                     •   Panel Member/Speaker, “Building a Successful Corporate Ethics and Risk
                         Management Program, Annual ABA Meeting (San Francisco), August 9, 2013
                     •   Speaker and Author, Commercial Contracts from the Litigator’s Perspective,
                         Part 2, August 1, 2013
                     •   Speaker and Author, Commercial Contracts from the Litigator’s Perspective ,
                         Part 1, June 13, 2013
                     •   Speaker, “Institutional Risk Management: Firm-wide Professional Liability Risks
                         and Systems to Manage Them,” as part of “Managing the 21st Century Law
                         Firm; Is It Time to Upgrade Your Tool Box?” Joint Law Firm Management
                         Conference sponsored by the International Association of Defense Counsel and
                         the FDCC, May 8-10, 2013
                     •   Speaker and Author, “You Are Your PI’s Keeper: Ethical Issues Associated with
                         use of a Private Investigator,” presented live via webcast through Lorman
                         Education Services, January 31, 2013
                     •   Speaker, Envisioning the Lawyer as a Professional: Where the Rules Intersect
                         the Vision, October 30, 2012
                     •   Speaker (Panel), Ethical and Other Business Considerations in Business Divorces,
                         Richmond Bar Association, January 11, 2012
                     •   Speaker, Not so Happily Ever After: Commercial Contracts from Litigator’s
                         Perspective, October 17, 2011
                     •   Speaker, Perspectives from the In-House & Outhouse and Underlying Ethics
                         Issues, WMACCA, July 2011
                     •   Speaker (Panel), Top 5 Ethics Issues, ABA Spring 2011 National Legal Malpractice
                         Conference
                     •   Speaker (Panel), Conflicts Panel, Aon Large Law Firm Symposium, Chicago, Fall
                         2010



                                                                                  Hunton Andrews Kurth LLP | 41
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 43 of
                                      50
                     •   Speaker, Perspectives from the In-House & Outhouse and Underlying Ethics
                         Issues, October 28, 2010
                     •   Speaker, Annual ethics CLE seminar (and author), Corporate Counsel Under the
                         Microscope, September 17, 2009, October 8, 2009, May 12, 2010, June 24,
                         2010, July 7, 2010, September 14, 2010, September 16, 2010
                     •   Speaker, AIPLA 2008 Spring Meeting, "Ethical Issues Associated with Use of
                         Private Investigator", March 15, 2008

                     Publications
                     •   2020 Retail Industry Year in Review, February 2021
                     •   Co-author, Recall Roundup: October, National Law Review, November 13, 2020
                     •   Author, Navigating Product Liability’s Complex Regulatory Landscape, Risk
                         Management, March 1, 2016
                     •   Author, Law Firm Compliance: An Apologia From the Experts, Corporate
                         Counsel, August 8, 2013
                     •   Co-author, Jail Time as a Result of Joint CPSC-Customs Enforcement, Law360,
                         June 26, 2013
                     •   Author, The Sophisticated User Defense Is Alive and Well in Virginia, IX, The
                         Journal of Civil Litigation, No. 4 at 309 (Virginia Association of Defense
                         Attorneys), January 1, 1998

                     Blog Posts
                     •   Co-author, Recall Roundup: April, Hunton Retail Law Resource Blog, May 12,
                         2022
                     •   Co-author, 2021 Recall Roundup Recap, Hunton Retail Law Resource Blog,
                         February 7, 2022
                     •   Co-author, Recall Roundup: September, Hunton Retail Law Resource Blog,
                         October 14, 2021
                     •   Co-author, Recall Roundup: August, Hunton Retail Law Resource Blog,
                         September 9, 2021
                     •   Co-author, Recall Roundup: July, Hunton Retail Law Resource Blog, August 12,
                         2021
                     •   Co-author, Recall Roundup: June, Hunton Retail Law Resource Blog, July 16,
                         2021
                     •   Co-author, Recall Roundup: May, Hunton Retail Law Resource Blog, June 9, 2021
                     •   Co-author, Recall Roundup: April, Hunton Retail Law Resource Blog, May 10,
                         2021
                     •   Co-author, Recall Roundup: March, Hunton Retail Law Resource Blog, April 13,
                         2021
                     •   Co-author, Recall Roundup: February, Hunton Retail Law Resource Blog, March
                         11, 2021
                     •   Co-author, Recall Roundup: January, Hunton Retail Law Resource Blog, February
                         11, 2021




                                                                                  Hunton Andrews Kurth LLP | 42
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 44 of
                                      50
                     •   Co-author, Recall Roundup: December, Hunton Retail Law Resource Blog,
                         January 14, 2021
                     •   Co-author, Recall Roundup: November, Hunton Retail Law Resource Blog,
                         December 22, 2020
                     •   Co-author, Recall Roundup: October, Hunton Retail Law Resource Blog,
                         November 13, 2020
                     •   Co-author, Recall Roundup: September, Hunton Retail Law Resource Blog,
                         October 8, 2020
                     •   Co-author, Recall Roundup: August, Hunton Retail Law Resource Blog,
                         September 9, 2020
                     •   Co-author, Recall Roundup: July, Hunton Retail Law Resource Blog, August 5,
                         2020
                     •   Co-author, Recall Roundup: June, Hunton Retail Law Resource Blog, July 8, 2020
                     •   Co-author, Recall Roundup: May, Hunton Retail Law Resource Blog, June 11,
                         2020
                     •   Co-author, Recall Roundup: April, Hunton Retail Law Resource Blog, May 14,
                         2020
                     •   Co-author, Recall Roundup: March 2020, Hunton Retail Law Resource Blog, April
                         9, 2020
                     •   Co-author, Recall Roundup: February 2020, Hunton Retail Law Resource Blog,
                         March 13, 2020
                     •   Co-author, Recall Roundup: January, Hunton Retail Law Resource Blog, February
                         19, 2020
                     •   Co-author, Recall Roundup: December, Hunton Retail Law Resource Blog,
                         January 10, 2020
                     •   Co-author, Recall Roundup: November, Hunton Retail Law Resource Blog,
                         December 13, 2019
                     •   Co-author, Recall Roundup: October, Hunton Retail Law Resource Blog,
                         November 13, 2019
                     •   Co-author, Recall Roundup: September, Hunton Retail Law Resource Blog,
                         October 14, 2019
                     •   Co-author, Recall Roundup: August, Hunton Retail Law Resource Blog,
                         September 12, 2019
                     •   Co-author, Recall Roundup: July, Hunton Retail Law Resource Blog, August 14,
                         2019
                     •   Co-author, Recall Roundup: June, Hunton Retail Law Resource Blog, July 11,
                         2019
                     •   Co-author, Recall Roundup: May, Hunton Retail Law Resource Blog, June 7, 2019
                     •   Co-author, Recall Roundup: April, Hunton Retail Law Resource Blog, May 17,
                         2019
                     •   Co-author, Recall Roundup: March, Hunton Retail Law Resource Blog, April 16,
                         2019




                                                                                Hunton Andrews Kurth LLP | 43
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 45 of
                                      50
                     •   Co-author, Recall Roundup: February, Hunton Retail Law Resource Blog, March
                         6, 2019
                     •   Co-author, Recall Roundup: January, Hunton Retail Law Resource Blog, February
                         6, 2019
                     •   Co-author, Recall Roundup: December, Hunton Retail Law Resource Blog,
                         January 10, 2019
                     •   Co-author, Recall Roundup: November, Hunton Retail Law Resource Blog,
                         December 10, 2018
                     •   Co-author, Recall Roundup: October, Hunton Retail Law Resource Blog,
                         November 7, 2018
                     •   Co-author, Recall Roundup: September, Hunton Retail Law Resource Blog,
                         October 3, 2018
                     •   Co-author, Recall Roundup: August, Hunton Retail Law Resource Blog,
                         September 5, 2018
                     •   Co-author, Recall Roundup: July, Hunton Retail Law Resource Blog, August 7,
                         2018
                     •   Co-author, Recall Roundup: June, Hunton Retail Law Resource Blog, July 6, 2018
                     •   Co-author, Recall Roundup: May, Hunton Retail Law Resource Blog, June 4, 2018
                     •   Co-author, Recall Roundup: April, Hunton Retail Law Resource Blog, May 1, 2018
                     •   Co-author, Recall Roundup: March, Hunton Retail Law Resource Blog, April 5,
                         2018
                     •   Co-author, Recall Roundup: February, Hunton Retail Law Resource Blog, March
                         5, 2018
                     •   Co-author, Recall Roundup: January, Hunton Retail Law Resource Blog, February
                         2, 2018
                     •   Co-author, Recall Roundup: December, Hunton Retail Law Resource Blog,
                         January 10, 2018
                     •   Co-author, Recall Roundup: November, Hunton Retail Law Resource Blog,
                         December 8, 2017
                     •   Co-author, Recall Roundup: October, Hunton Retail Law Resource Blog,
                         November 2, 2017
                     •   Co-author, Recall Roundup: September, Hunton Retail Law Resource Blog,
                         October 5, 2017
                     •   Co-author, Recall Roundup: August, Hunton Retail Law Resource Blog,
                         September 1, 2017
                     •   Co-author, Recall Roundup Update: Fidget Spinners and Eclipse Glasses, Hunton
                         Retail Law Resource Blog, August 14, 2017
                     •   Co-author, Recall Roundup: July, Hunton Retail Law Resource Blog, August 3,
                         2017
                     •   Co-author, Recall Roundup: June, Hunton Retail Law Resource Blog, July 6, 2017
                     •   Co-author, Recall Roundup: May, Hunton Retail Law Resource Blog, June 7, 2017
                     •   Co-author, Recall Roundup: April, Hunton Retail Law Resource Blog, May 4, 2017




                                                                                Hunton Andrews Kurth LLP | 44
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 46 of
                                      50
                     •   Co-author, Recall Roundup: March, Hunton Retail Law Resource Blog, April 6,
                         2017
                     •   Co-author, Recall Roundup: February, Hunton Retail Law Resource Blog, March
                         7, 2017
                     •   Co-author, 2017 Brings Leadership Changes at the CPSC, Hunton Retail Law
                         Resource Blog, March 2, 2017
                     •   Co-author, Recall Roundup: January, Hunton Retail Law Resource Blog, February
                         3, 2017
                     •   Author, Why Lawyers Can’t Give Straight Answers About Product Regulatory
                         and Recall Risk (Part 3), Hunton Retail Law Resource Blog, January 26, 2017
                     •   Author, Why Lawyers Can’t Give Straight Answers About Product Regulatory
                         and Recall Risk (Part 2), Hunton Retail Law Resource Blog, January 19, 2017
                     •   Author, Why Lawyers Can’t Give Straight Answers About Product Regulatory
                         and Recall Risk (Part 1), Hunton Retail Law Resource Blog, January 12, 2017
                     •   Co-author, Recall Roundup: December, Hunton Retail Law Resource Blog,
                         January 5, 2017
                     •   Co-author, Recall Roundup: November, Hunton Retail Law Resource Blog,
                         December 5, 2016
                     •   Co-author, Recall Roundup: October, Hunton Retail Law Resource Blog,
                         November 2, 2016
                     •   Co-author, Recall Roundup: August, Hunton Retail Law Resource Blog,
                         September 20, 2016




                                                                                Hunton Andrews Kurth LLP | 45
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 47 of
                                      50
                                                            Halyna Hnatkiv
                                                            Associate

                                                            hhnatkiv@huntonak.com
                                                            Miami
                                                            +1 305 810 2512
                                                            Languages: Ukrainian, Russian




SERVICES
                               Halyna Hnatkiv is an associate in the commercial litigation
                               practice.
Practices
Commercial Litigation          Halyna focuses her practice on complex commercial litigation, alternative dispute
                               resolution, investigations and business disputes. Additionally, Halyna has an active
Litigation
                               pro bono practice, in which she handles immigration and veterans benefits issues.
                               During law school, Halyna served as an extern in the criminal division for the US
EDUCATION                      Attorney’s Office for the Southern District of New York and interned for the
                               Honorable Donna Keim of the Eighth Judicial Circuit of Florida. She also served as
JD, New York University,       staff editor of the Journal of Intellectual Property and Entertainment Law.
2022
BA, Business
Administration and Political
Science, University of
Florida, cum laude, 2019


BAR ADMISSIONS

Florida




                                                                                            Hunton Andrews Kurth LLP | 46
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 48 of
                                      50
                                                           S. Alice Weeks
                                                           Associate

                                                           aweeks@HuntonAK.com
                                                           Miami
                                                           +1 305 810 2554




SERVICES
                             Alice represents corporate policyholders in complex
                             insurance disputes and bad faith litigation.
Practices
Insurance Coverage           Alice handles all aspects of insurance coverage and bad faith litigation and has
                             litigated cases through summary judgment and trial in both state and federal
Litigation
                             courts. She also consults with corporate clients on insurance coverage issues and
                             provides advice regarding the type and level of insurance coverage needed. Alice
EDUCATION                    has experience handling hurricane claims, commercial general liability insurance
                             disputes, including COVID-19 business interruption claims, and cyber breaches.
JD, DePaul University        Alice was named to Best Lawyers in America’s “Ones to Watch” 2022 list for
College of Law, cum
                             insurance law, the Cystic Fibrosis Foundation’s 40 Under 40 Outstanding
laude, Editor, DePaul
Business and Commercial      Professionals of South Florida 2022 list and the Miami Dade Bar Young Lawyers
Law Journal, 2016            Section’s 40 Under 40 2023 list. She was also named a Circle of Excellence winner
                             for Insurance Litigation in 2023 by the Miami Dade Bar.
BA, English Literature and
Spanish Language, Iowa       Alice is admitted to practice in Florida and Illinois, as well as the US Court of
State University, 2013       Appeals for the Eleventh Circuit, and the US District Courts for the Northern District
                             of Florida, Middle District of Florida, Southern District of Florida, and Northern
                             District of Illinois.
BAR ADMISSIONS
                             Relevant Experience
Florida
                             •   Obtained jury verdict for client in D&O dispute.
Illinois
                             •   Drafted and obtained summary judgment victory on novel area of law dealing
                                 with trigger of multiple insurance policies for wrongfully incarcerated
                                 individuals.
                             •   Won appeal in the 11th Circuit Court of Appeals in maritime insurance case.
                             •   Won federal court action for corporate client seeking to invoke arbitration for
                                 eight figure property damage loss and assisted in obtaining favorable arbitration
                                 result.
                             •   Represent clients in declaratory judgment, breach of contract, bad faith and
                                 other related insurance cases involving multimillion dollar losses and disputes.




                                                                                          Hunton Andrews Kurth LLP | 47
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 49 of
                                      50
                     Memberships
                     •   Director, Dade County Bar Association Young Lawyers Section, 2020-2022;
                         Editor-in-Chief, Bulletin, 2021-2022
                     •   Former Member, Greater Miami Chamber of Commerce, 2018-2019

                     Courts
                     •   US Court of Appeals, Eleventh Circuit
                     •   US District Court, Northern District of Florida
                     •   US District Court, Middle District of Florida
                     •   US District Court, Southern District of Florida
                     •   US District Court, Northern District of Illinois

                     Awards & Recognition
                     •   Named a Miami-Dar Bar Circle of Excellence winner for Insurance Litigation,
                         2023
                     •   Inaugural honoree at the Miami-Dade Bar Young Lawyers Section’s 40 Under 40
                         Awards, 2023
                     •   Recognized as “One to Watch” for Insurance Law by The Best Lawyers in
                         America, 2022-2024
                     •   Named among the Cystic Fibrosis Foundation’s 40 Under 40 Outstanding
                         Professionals of South Florida, 2022
                     •   Recognized as a “Top Up and Comer” by South Florida Legal Guide, 2021

                     Events
                     •   Speaker, Controlling the Defense: The Tripartite Relationship and Reserving
                         Rights, American Bar Association’s 2022 Women in Insurance Network, October
                         13, 2022
                     •   Presenter, National Business Institute, Auto Injury Litigation: The Ultimate
                         Guide, In-Depth Insurance Coverage Analysis and Auto Insurance Bad Faith,
                         February 20-21, 2020

                     Publications
                     •   Co-author, Conflicts and the Tripartite Relationship, American Bar Association,
                         February 27, 2023
                     •   Co-author, How Many Corners in a Complaint? Carving Out Exceptions to the
                         Four Corners Rule, American Bar Association, February 27, 2023
                     •   Co-author, Eleventh Circuit Rescinds Prior Restriction on Excess Judgments for
                         Bad Faith Claims, Daily Business Review, September 16, 2022
                     •   Co-author, Hurricane Claims: Key Tips to Minimize Losses and Maximize
                         Recovery, Risk Management, August 1, 2022

                     Blog Posts
                     •   Co-author, Insurer Can’t Flush Away Its Duty to Defend, Hunton Insurance
                         Recovery Blog, January 5, 2023




                                                                                  Hunton Andrews Kurth LLP | 48
Case 1:22-cv-21737-RNS Document 151-4 Entered on FLSD Docket 10/02/2023 Page 50 of
                                      50
                     •   Co-author, No Coverage for Late Night Snacks: New Jersey Court Finds Uber Eats
                         is Not Covered by State’s Insurance Coverage Requirements for Ride-Hailing
                         Companies, Hunton Insurance Recovery Blog, October 3, 2022
                     •   Co-author, Is Your Business Ready For A Hurricane?, Hunton Insurance Recovery
                         Blog, August 24, 2022
                     •   Co-author, Judgment (Still) Means Judgment: The Eleventh Circuit Extends
                         McNamara to a Proposal for Settlement, Hunton Insurance Recovery Blog, July
                         18, 2022
                     •   Co-author, Texas Duty to Defend: To Deviate or Not to Deviate, Hunton
                         Insurance Recovery Blog, May 18, 2022
                     •   Co-author, Judgment Means Judgment: The Eleventh Circuit Reestablishes that
                         a Consensual Excess Settlement Can be Used to Satisfy Causation Prong of Bad
                         Faith, Hunton Insurance Recovery Blog, April 14, 2022
                     •   Co-author, Prison Break: Insurer Seeks to Escape Coverage for Suit Tied to “El
                         Chapo”, Hunton Insurance Recovery Blog, January 13, 2022




                                                                                  Hunton Andrews Kurth LLP | 49
